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                EXHIBIT 1
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Filing # 200988178 E-Filed 06/20/2024 01:35:59 PM

                     IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                              IN AND FOR SARASOTA COUNTY, FLORIDA

        JONATHAN LOGAN and SMART
        COMMUNICATIONS HOLDING, INC.,

                             Plaintiffs,

        v.

        JANICE LOGAN, individually and as Trustee of the
        James Logan Family Trust, dated February 10, 2021;
        and ALEXIS LOGAN,

                             Defendants.
                                                              /

        JANICE LOGAN, as Trustee of the James Logan               Case No.: 2023-CA-1002-NC
        Family Trust, dated February 10, 2021,

                             Counterclaim Plaintiff,

        v.

        JONATHAN D. LOGAN, SMART
        COMMUNICATIONS HOLDING, INC., SMART
        COMMUNICATIONS HOLDING, LLC, HLFIP
        HOLDING, INC., and HLFIP HOLDING, LLC,

                             Counterclaim Defendants.
                                                              /

        JANICE LOGAN, as Trustee of the James Logan Family        (CONSOLIDATED)
        Trust, dated February 10, 2021, and derivatively on
        Behalf of Smart Communications Holding, Inc.,

                             Plaintiff,                           Case No.: 2023-CA-1280-NC

        v.

        JONATHAN D. LOGAN,
        SMART COMMUNICATIONS HOLDING, INC.,
        nominal defendant, SMART COMMUNICATIONS
        HOLDING, LLC, HLFIP HOLDING, INC., HLFIP
        HOLDING, LLC, LOCO FLORIDA LLC, and
        SMART COMMUNICATIONS YACHT
        HOLDING, LLC,

                             Defendants
                                                              /

             SMART COMMUNICATIONS HOLDING, INC.’S ELECTION TO PURCHASE
                      PURSUANT TO FLORIDA STATUTE § 607.1436

        76886216;1
             Case 8:24-bk-07106-RCT      Doc 45-1     Filed 12/17/24    Page 3 of 110


         Smart Communications Holding, Inc. (“Smart Communications” or the “Company”),

pursuant to § 607.1436, Fla. Stat., elects to purchase all shares of the Company owned by the

James Logan Family Trust, dated February 10, 2021, at fair value.

         Smart Communications reserves all rights available to it under § 607.1436, or otherwise,

including its right to deny, contest and/or object to the allegations raised in the Second Amended

Complaint dated May 29, 2024.


Dated: June 20, 2024

 STEARNS WEAVER MILLER WEISSLER                        AKERMAN LLP
 ALHADEFF & SITTERSON, P.A.                            401 E. Jackson Street, Suite 1700
 Highpoint Center                                      Tampa, FL 33602-5250
 106 East College Avenue - Suite 700                   Office: (813) 23-7333
 Tallahassee, FL 32301                                 Fax: (813)218-5495
 Telephone: (850) 580-7200                             mark.bernet@akerman.com
 gburhans@stearnsweaver.com                            caren.deruiter@akerman.com


 By: s/ Glenn Burhans, Jr.                             By:/s/ Mark J. Bernet
 Glenn Burhans, Jr.                                    Mark J. Bernet, Esq.
 Florida Bar No. 605867                                Florida Bar No. 606359

 -and-                                                 -and-

 STEARNS WEAVER MILLER WEISSLER                        AKERMAN LLP
 ALHADEFF & SITTERSON, P.A.                            201 East Las Olas Boulevard
 200 East Las Olas Boulevard, Suite 2100               Suite 1800
 Fort Lauderdale, Florida 33301                        Fort Lauderdale, FL 33301
 Telephone: (954) 462-9500                             Telephone: (954) 463-2700
 mharwin@stearnsweaver.com                             Fax: (954) 463-2224
 mhernandez@stearnsweaver.com
                                                       Jason S. Oletsky, Esq.
 By: /s/Michael J. Harwin                              Florida Bar No. 9301
 Michael J. Harwin                                     jason.oletskey@akerman.com
 Florida Bar No.: 1018578                              jill.parnes@akerman.com
                                                       Dustin B. Hillsley, Esq.
                                                       Florida Bar No. 1018589
                                                       dustin.hillsley@akerman.com
                                                       deborah.karlson@akerman.com
                                                       Max C. Rudolf, Esq.
                                                       Florida Bar No. 98766
                                                       max.rudolf@akerman.com
                                                       deborah.karlson@akerman.com

                                                       Counsel for Smart Communications
                                                       Holding, Inc.

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on June 20,

2024, via electronic mail through the Florida Court's E-Portal to:


         Anitra R. Clement
         Florida Bar No. 100354
         SHOOK, HARDY & BACON L.L.P.
         100 N. Tampa Street, Suite 2900
         Tampa, FL 33602
         Telephone: (813) 202-7100
         aclement@shb.com

         David E. Schoenfeld (FL PHV # 1047561)
         Peter F. O’Neill (FL PHV # 1043125)
         Andrew L. Franklin (FL PHV # 1035737)
         Kailin Liu (FL PHV # 1051416)
         SHOOK, HARDY & BACON L.L.P.
         111 S. Wacker Drive, Suite 4700
         Chicago, IL 60606
         Telephone: (312) 704-7700
         dschoenfeld@shb.com
         pfoneill@shb.com
         afranklin@shb.com
         kliu@shb.com

                                                     /s/Mark Bernet
                                                     Mark Bernet, Esq.




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                EXHIBIT 2
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                          CONFIDENTIAL LICENSE AGREEMENT


                       EXCLUSIVE INTERCOMPANY
               INTELLECTUAL PROPERTY LICENSE AGREEMENT

         This Exclusive Intercompany Intellectual Property License Agreement ("Agreement"),
 effective as ofAugust 29. 2023 (the "Effective Date''), is by and between HLFIP Holding, LLC,
 a Delaware limited liability company (''Licensor'') and Smart Communications Holding, LLC,
                                                                                             a
 Delaware limited liability company ("Licensee") (collectively, the "Parties," or each,
 individually, a "Party").

        WHEREAS, Licensor is the sole owner of all right, title, and interest in certain
intellectual property, including proprietary technology, patents, patent applications, registered
and common law names, trademarlcs, service marks, logos, federal trademark registrations, and
know-how (including those items set forth on Schedule 1, which may be supplemented or
amended from time to time) aimed at inmate communications technology and services, including
to eliminate contraband in postal mail at correctional facilities, improve the safety of inmates
                                                                                                 and
correctional facilities, improve correctional facility and inmate surveillance, and improve
communication systems to be used by inmates and their friends and families (collectively, the
"Licensed Intellectual Property");

       WHEREAS, Licensee desires to distribute and sell inmate communication systems and
services to correctional facilities in the United States (the "Business'');

       WHEREAS, Licensee specifically acknowledges that Licensor has valuable goodwill
associated with its names, trademarks, service marks, and logos used as trademarks in connectio
                                                                                                n
with inmate communication systems and services;

       WHEREAS, Licensee wishes to lic-ense the Licensed Intellectual Property to facilitate
Licensee's conduct ofthe Business;

       WHEREAS, Licensor is willing to grant to Licensee an exclusive license to use the
Licensed Intellectual Property on the terms set forth herein;

       WHEREAS, the parties desire to allocate rights to the intellectual property developed by,
or acquired by either of them for inmate communication systems and services developed under
this Agreement in accordance with the terms and conditions set forth herein; and

         WHEREAS, Licensor and Licensee are commonly controlled.

       NOW, THEREFORE, in consideration ofthe mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency
                                                                                                 of
which are hereby acknowledged, the Parties hereby agree as follows:

    I.     License.

          1.1     License Grant. Subject to the terms and conditions oftbis Agreement, Licensor
hereby grants to Licensee during the Term (as defined below) an exclusive, non-transferable,




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                                                                                         SMART_B&R 000532
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                           CONFIDENTIAL LICENSE AGREEMENT

non-sublicensable license to make, have made, use, import, export, sell, and offer for sale the
Licensed Intellectual Property in connection with the conduct of the Business in the United
States and in accordance with standards, specifications, and/or instructions approved by
Licensor, from time to time.

             1.2     Ownership. Licensee acknowledges and agrees that Licensor shall retain all
right, title, and interest in and to the Licensed Intellectual Property and all rights relating thereto;
that the license and rights granted in this Agreement will not be construed to confer any rights
upon Licensee by implication, estoppel, or otherwise as to any technology not identified in
Schedule 1; that all use and goodwill symbolized by and connected with the use of the Licensed
Intellectual Property by Licensee shall inure solely to the benefit of Licensor, and that Licensee
acquires no ownership right in or to the Licensed Intellectual Property as a result of this
Agreement.

           1.3     Prosecution and Maintenance. Licensor has the sole right, in its discretion and
at its Licensee's expense, to file, prosecute, and maintain all applications, registrations, and
patents relating to the Licensed Intellectual Property. Licensee shall provide, at the request of
Licensor and at Licensee's expense, all necessary assistance with such :filing, maintenance, and
prosecution.

           1.4    Recordation ofLicense. Licensor shall make all necessary filings to record this
Agreement in the United States Patent and Trademark Office and in the corresponding offices
                                                                                               or
agencies where it may be required under applicable law, including as a prerequisite to
enforcement ofthe Licensed Intellectual Property or enforceability of this Agreement in the
courts, and any recordation fees and related costs and expenses will be at Licensee's expense.

           1.5    Assignments and Sublicensing. The license hereby granted is and shall be
personal to the Licensee, and unless Licensor consents in writing, shall not be assignable by any
act of Licensee or by operation of law. Furthermore, the license and rights granted hereunder
may not be sublicensed, conveyed, assigned, or otherwise transferred by Licensee to any third
party. Any purported sublicense, conveyance, assignment, or transfer will be void and of no
force and effect.

            1.6    Prior Exclusive License Agreement. Licensee acknowledges that Licensor
previously exclusively licensed the Licensed Intellectual Property to another party, and that
under that pre-existing license agreement, the prior licensee executed contracts that extend
beyond the Effective Date of this Agreement Licensee hereby acknowledges that despite
Licensor's exclusive license grants to Licensee under this Agreement, Licensor has also agreed
to allow the prior licensee to continue to use the Licensed Intellectual Property beyond this
Agreement's Effective Date, until the prior contracts naturally expire. Licensee hereby consents
to this limited period of overlap of the Licensed Intellectual Property license grants.

          1.7     Reservation of Rights. Licensor hereby reserves all rights not expressly granted
to Licensee under this Agreement

    2.    Use of Licensed Intellectual Property.




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                         CONFIDENTIAL LICENSE AGREEMENT

           2.1     Notices. Licensee shall ensure that all use ofLicensed Intellectual Property
hereunder is accompanied by or marked with the appropriate proprietary rights notices, symbols,
and legends as may be reasonably necessary under applicable law to maintain the Licensed
Intellectual Property and Licensor's proprietary rights therein and in such order and manner as
may be reasonably specified by Licensor. Without limiting the foregoing, Licensee shall comply
with the patent marking provisions of 35 U.S.C. § 287(a) by marking all Licensed
Products/patented products covered by any Licensed Intellectual Property with the word "patent"
or the abbreviation ''pat." and either the relevant patent numbers or a web address that is freely
accessible to the public and that lists the relevant patent numbers.

            2.2      Modifications. As between the Parties, Licensor owns any improvement,
enhancement, or other modification of or derivative work based on any of the Licensed
Intellectual Property made by or on behalf of Licensee or Licensor (each, a "Modification").
Licensee shall immediately notify Licensor of any Modification made by or on behalf of
Licensee (each, a "Licensee Modification''). Licensee hereby assigns to Licensor all of its right,
title, and interest in and to all Licensee Modifications, including all rights to apply for any
patents, trademarks, or other intellectual property registrations with respect to such Licensee
Modifications and all enforcement rights and remedies for past, present, and future infringement
thereof and all rights to collect royalties and damages therefor. All patent applications and
trademark applications filed by Licensor with respect to any such Licensee Modification and all
patents or trademark registrations issuing therefrom shall automatically be included in the
Licensed Intellectual Property and subject to the license granted to Licensee under Section 1.1.
At the request of Licensor, Licensee shall promptly execute and deliver such documents as may
be necessary or desirable to effect and perfect the foregoing assignment of rights.
            2.3 Quality. Licensee acknowledges and is familiar with the high standards and
reputation for quality symbolized by the trademarks, service marks, and logos included in the
Licensed Intellectual Property as of the Effective Date (''Licensed Marks"). Licensee agrees to
conduct the Business and use the Licensed Marks in a manner at least consistent with such
quality standards and reputation. Licensee shall comply with Licensor's guidelines and
specifications regarding the style, appearance, and usage ofthe Licensed Marks. Licensor may
exercise quality control over all uses of the Licensed Marks under this Agreement to maintain
the validity of the Licensed Marks and protect the goodwill associated therewith. If Licensor
determines that the quality and nature of the goods and services with which the Licensed Marks
are used by Licensee do not meet the standards and requirements set forth by Licensor, Licensee
agrees to meet or exceed the standards and requirements set forth by Licensor within thirty (30)
days of receiving written notification of a failure to meet the standards and requirements for the
quality and nature of the goods with which the Licensed Marks are used. Approval of any use by
Licensee of the Licensed Marks, once given by Licensor, will continue in effect, without need
for future approval, so long as Licensee's use ofthe Licensed Marks in connection with the
goods and services of the Business continues to he substantially consistent with such previously
approved use.

    3.    Improvements.
        3.1    Ownership ofimprovements. Each Party shall advise the other of any technical
improvements, modifications, or enhancements relating to the Licensed Intellectual Property


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created from time to time and useful to effectively operate the Licensed Intellectual Property
( collectively referred to as "Improvements"). Any and all such Improvements shall be the
property of Licensor. All Improvements made by Licensor shall be included in the license grant
of Section 1.1. All Improvements made by Licensee shall be the property of Licensor and shall
be licensed to Licensee for its use. Improvements that are made jointly by the parties shall be
owned by Licensor. Each Party agrees to execute any and all documents requested by the other
to perfect rights to jointly made Improvements.

     4.    Actions by Third Parties.

           4.1       Infringement Actions. Licensee shall promptly notify Licensor in writing of
any actual, suspected, or threatened infringement, misappropriation, or other violation of any
Licensed Intellectual Property by any third party of which it becomes aware. Licensor has the
sole right, in its discretion, and at Licensee's expense, to (a) bring any action or proceeding with
respect to any such infringement; (b) defend any declaratory judgment action concerning any
Licensed Intellectual Property; and (c) control the conduct of any such action or proceeding
(including any settlement thereof). Licensee shall provide Licensor with all assistance that
Licensor may reasonably request, at Licensee's expense, in connection with any such action or
proceeding. Licensor and Licensee will evenly split any monetary recovery resulting from any
such action or proceeding (including any settlement thereat) for each's own account, subject to
reimbursement of Licensee's costs, fees or expenses incurred in such action.

            4.2    Other Actions by a Third Party. Each Party shall promptly notify the other in
the event of any legal or administrative action by any third party involving the Licensed
Intellectual Property of which it becomes aware, including any opposition, cancellation, or
revocation proceeding. Licensor shall have the right, but not the obligation, to defend against any
such action involving the Licensed Intellectual Property, and any such defense shall be at
Licensee's expense. If Licensor fails to defend against any such action, then Licensee shall have
the right to defend such action, in its own name. and any such defense shall be at Licensee's
expense.

    5.    Payment.

           5.1     Royalty. On or before the last business day of each calendar year during the
term of this Agreement, Licensee shall pay to Licensor a royalty of40 percent (40%) of the Net
Sales of products and services sold by Licensee to any third party ("Royalty Fee"). "Net Sales"
means, for any period of determination, the aggregate amount invoiced by Licensee to a third
party for Business in the United States, less any credits, refunds, customary and usual trade
discounts, rebates, discounts, charge-backs, and sales taxes, excluding net income tax. The
amounts of any deductions shall be determined from books and records maintained in
accordance with International Financial Reporting Standards, consistently applied.

           5.2     Maintenan.c e of Books and Records: Record Inspection and Audit. Licensee
shall keep complete and accurate books and records as reasonably necessary for the calculation
the Royalty Fee payable under Section 5.1. Licensee further agrees it shall make these records
available for inspection, from time to time, by Licensor, or a third party retained by Licensor, at
Licensee's site and at Licensee's cost. Any audit and/or inspection shall be conducted during


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regular business hours at Licensee's facilities upon at least seven (7) days prior written notice.
Such examination shall be conducted in such a manner as to not unduly interfere with Licensee's
business. If the audit reveals an underpayment of Royalty Fee by Licensee under this Agreement,
Licensee shall pay to Licensor the full amount of any underpayment revealed by the audit, plus
interest at the per annum prime rate in effect at the Chase Manhattan Bank, N.A., New York,
New York, on the due date.

     6.    Confidentiality. Each Party acknowledges that in connection with this Agreement it
will gain access to certain confidential and proprietary infonnation of the other Party
(collectively, "Confidential Information"). Without limiting the foregoing, for purposes of this
Agreement, all trade secrets and confidential infonnation included in the Licensed Intellectual
Property, including unpublished patent applications, will be deemed Confidential Information of
Licensor. Each Party shall maintain the Confidential Information in strict confidence and not
disclose any Confidential Information to any other person, except to its employees who (a) have
a need to know such Confidential Information for such Party to exercise its rights or perform its
obligations hereunder; and (b) are bound by written nondisclosure agreements. Each Party shall
use reasonable care, at least as protective as the efforts it uses with respect to its own confidential
infonnation, to safeguard the Confidential Infonnation from use or disclosure other than as
permitted hereby.

     7.     Indemnification. Licensee shall indemnify, defend, and hold harmless Licensor, its
Affiliates, officers, directors, employees, agents and representatives against all losses, liabilities,
claims, damages, actions, fines, penalties, expenses or costs {including court costs and
reasonable attorneys' fees) arising out of or in connection with any third-party claim, suit, action,
or proceeding relating to any breach of this Agreement by Licensee and use by Licensee of any
Licensed Intellectual Property under this Agreement

     8.    Tenn and Termination. This Agreement begins on the Effective Date and will remain
in force until terminated (''Tenn''). Licensor may terminate this Agreement at any time without
cause, and without incurring any additional obligation, liability, or penalty. Licensee may
terminate this Agreement at any time with prior written notice to Licensor.

    9.     General Provisions.

          9.1    Amendments. No amendment to this Agreement will be effective unless it is in
writing and signed by both Parties.

           9.2     No Third-Party Beneficiaries. This Agreement solely benefits the Parties and
their respective permitted successors and assigns and nothing in this Agreement, express or
implied, confers on any other person any legal or equitable right, benefit or remedy of any nature
whatsoever under or by reason of this Agreement.

          9.3     Counterparts. This Agreement may be executed in counterparts, each of which
is deemed an original, but all of which together are deemed to be one and the same agreement.

         9.4      Severability. If any term or provision ofthis Agreement is invalid, illegal, or
unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability will not affect




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                                                                                            SMART_B&R 000536
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                         CONFIDENTIAL LICENSE AGREEMENT

any other tenn or provision of this Agreement or invalidate or render unenforceable such term or
provision in any other jurisdiction.

            9.5     Governing Law. This Agreement, including all exhibits, schedules,
attachments, and appendices attached to this Agreement and thereto, and all matters arising out
of or relating to this Agreement, are governed by, and construed in accordance with, the laws of
the State of Delaware, without regard to the conflict of laws provisions thereof to the extent such
principles or rules. would require or permit tl1e application of the laws of any jurisdiction other
than those ofthe State of Delaware.

           9.6     Waiver. Except as otherwise set forth in this Agreement, no failure to exercise,
or delay in exercising, any rights, remedy, power, or privilege arising from this Agreement will
operate or be construed as a waiver thereof, nor will any single or partial exercise of any right,
remedy, power, or privilege hereunder preclude any other or further exercise thereof or the
exercise of any other right, remedy, power, or privilege.

          9.7    Notices. All notices, requests, consents, claims, demands, waivers and other
communications hereunder shall be in writing and shall be sent to the respective parties at the
following addresses (or at such other address for a party as shall be specified):

 If to Licensor:                       HLFIP Holding, LLC
                                       10491 72nd Street
                                       Seminole, Florida 33777
                                       Email: jon.logan787@gmail.com
                                       Attention: Jon Logan


If to Licensee:                        Smart Communications Holding, LLC
                                       10491 72nd Street
                                       Seminole, Florida 33777
                                       Email: legal@smartcommunications.us
                                       Attention: Legal Dept.
           9.8     Entire Agreement. This Agreement, including and together with any related
    exhibits, schedules, attachments, and appendices, constitutes the sole and entire agreement
    of Licensor and Licensee with respect to the subject matter contained herein, and supersedes
    all prior and contemporaneous understandings, agreements, representations, and warranties,
    both written and ora~ regarding such subject matter.

                                 [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of
the August 29, 2023, by their respective officers thereunto duly authorized.


                                              HLFIP Holding, LLC
                                              By    1/J_: -
                                              N~n
                                              Title: President




                                              : ; ~ o n s Holdll>g, LLC

                                              Name: Jon Logan
                                              Title:CEO




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                 SCHEDULE 1: LICENSED INTELLECTUAL PROPERTY




HLFIP Holding, LLC   USA   CORRECTIONAL POSTAL MAIL    2020/0128014 Al   11457013
                            CONTRABAND ELIMINATION
                                     SYSTEM
HLFIP Holding, LLC   USA   CORRECTIONAL POSTAL MAIL    2016/0337360 Al   10291617
                            CONTRABAND ELIMINATION
                                     SYSTEM
HLFIP Holding, LLC   USA   CORRECTIONAL INSTITUTION    2020/0280645 Al   11637940
                               LEGAL POSTAL MAIL
                             PROCESSING SYSTEM AND
                                    METHOD
HLFIP Holding, LLC   USA   CORRECTIONAL INSTITUTION    2019/0268488 Al   10659630
                               LEGAL POSTAL MAIL
                             PROCESSING SYSTEM AND
                                    METHOD
HLFIP Holding, LLC   USA   COMMUNICATION TRACKING      2019/0386996 Al   10862891
                           SYSTEM FOR CORRECTIONAL
                                   FACILITIES
HLFIP Holding, LLC   USA   SYSTEMS AND METHODS FOR     2020/0396347 AI   11201974
                             PROCESSING REQUESTS TO
                           SEND PRIVATE POSTAL MAIL
                                 TOAN INMATE




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                 ,.,,
                                      PATENT APPLICATIONS
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   '      '}./           .                  ,.
                                                  ~"':



                                                              No.         Date
       HLFIP       USA         CORRECTIONAL POSTAL         17/363499   06/30/2021      2022/0060475 Al
 Holding, LLC                    MAIL CONTRABAND
                                ELIMINATION SYSTEM
   HLFIP           USA             COMMUNICATION           17/114326   12/7/2020       2021/0194878 Al
Holding, LLC                   TRACKING SYSTEM FOR
                                    CORRECTIONAL
                                      FACILITIES
   HLFIP           USA         SYSTEMS AND METHODS         17/549349   12/13/2021     2022/0103701 Al
Holding, LLC                       FOR PROCESSING
                                 REQUESTS TO SEND
                              PRNATEPOSTALMAIL TO
                                     ANlNMATE
   HLFIP           USA            SMART WEARABLE           17/580462   1/20/2022      2022/0225947 Al
Holding, LLC                    DEVICE FOR TRACKING
                                  AND MONITORJNG
                                  INDIVIDUALS IN A
                              CORRECTIONAL FACILITY
   HLFIP          USA          STATIONARY EXERCISE         17/194190   3/5/2021       2021/0275863 Al
Holding, LLC                      BIKE FOR USE IN A
                              CORRECTIONAL FACILITY




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     filFIP Holdin!!. LLC                 USA            MAil.,GUARD                             5,135, 773
     filFIP Holding, LLC                  USA     MAILGUARD POSTAL MAIL                          5,135,772
                                                    ELIMJNATION LOGO
 Ill,FIP Holdin!!.. LLC             USA            MAILGUARD CONNECT
 HLFIP Holding, LLC                 USA            MAILGUARD DIGITAL
 filFIP Holdin12:. LLC              USA            MAILGUARD TRACKER
HLFIP Holdin11. LLC                 USA             MAILGUARDLEGAL
HLFIP Holding, LLC                  USA             SMARTECOSYSTEM
ill.,FIP Holding, LLC               USA                    SMARTED
HLFIP Holding, LLC                  USA           SMARTENTERTAINMENT
HLFIP Holding. LLC                  USA                   SMARTLAW
filFIP Holding, LLC                 USA                  SMARTLINK
HLFIP Holding, LLC                  USA               SMARTREENTRY
HLFIP Holding, LLC                  USA               SMARTREQUEST
HLFIP Holding, LLC                  USA                SMARTSUMMIT
HLFIP Holding, LLC                  USA                SMARITABLET
filFIP Holdin11. LLC                USA                  SMARTVISIT
HLFIP Holdin2. LLC                  USA                SMARTWATCH




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                  Owner              Tecbnolon
            HLFIP Holding, LLC      MAILGUARD
            HLFIP Holdin2. LLC MAILGUARD DIGITAL
            HLFIP Holding, LLC MAILGUARD TRACKER
            HLFIP Holding, LLC   MAILGUARDLEGAL
            HLFIP Holdin2. LLC   SMARTECOSYSTEM
            HLFIP Holding, LLC       SMARTED
            HLFIP Holding, LLC SMARTENTERTAINMENT
            HLFIP Holding, LLC      SMARTLAW
            HLFIP Holdin2. LLC      SMARTLINK
            HLFIP Holding, LLC    SMARTREENTRY
            HLFIP Holding, LLC    SMARTREOUEST
            HLFIP Holding, LLC     SMARTTABLET
            HLFIP Holding, LLC      SMARTVISIT
            HLFIP Holding, LLC     SMARTWATCH




                                  11


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                                                                       SMART_B&R 000542
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                 EXHIBIT 3
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                Smart Communications Holding, Inc.

             Consolidated Audited Financial Statements




                                                 A   L
                         December31,2022




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          IV
        PR




                            Prepared by:

                      M. L. Shreve CPA, P.C.
                       7781 N. Easy Street
                     Whitehall, Michigan 49461
                            231.894.5559




                                                              CONFIDENTIAL
                                                                SMART_B&R 000302
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                            Smart Communications Holding, Inc.
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                                    December 31, 2022

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Financial Statements
    Consolidated Balance Sheet                                                   3
    Consolidated Income Statement                                              4-6
    Consolidated Statement of Retained Earnings                                  7
    Consolidated Statement of Cash Flows                                         8
    Consolidated Notes to Financial Statements                                 9 -13




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                                                                                        SMART_B&R 000303
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October 25, 2023

                                     Independent Auditor's Report
To the Board of Directors
Smart Communications Holding, Inc.
Seminole, Florida 33777




                                                                       A      L
Opinion




                                                                    TI
We have audited the consolidated financial statements of Smart Communications Holding, Inc., which




                                                                 EN
comprise the consolidated balance sheet as of December 31, 2022, and the related consolidated
statements of income, retained earnings, and cash flows for the year then ended, and the related notes to


                                                         ID
the consolidated financial statements.                 NF
In our opinion, the accompanying consolidated financial statements present fairly, in all material respects,
the financial position of Smart Communications Holding, Inc. as of December 31, 2022, and the results of
                                                CO

its operations and its cash flows for the year then ended in accordance with accounting principles
generally accepted in the United States of America.
                                        D



Basis for Opinion
                                      AN




We conducted our audit in accordance with auditing standards generally accepted in the United States of
America. Our responsibilities under those standards are further described in the Auditor's Responsibilities
for the Audit of the Financial Statements section or our report. We are required to be independent of
                                  E




Smart Communications Holding, Inc. and to meet our other ethical responsibilities, in accordance with the
                            AT




relevant ethical requirements relating to our audit. We believe that the audit evidence we have obtained is
sufficient and appropriate to provide a basis for our audit opinion.
                     IV




Responsibilities of Management for the Consolidated Financial Statements
                   PR




Management is responsible for the preparation and fair presentation of the consolidated financial
statements in accordance with accounting principles generally accepted in the United States of America,
and for the design, implementation, and maintenance of internal control relevant to the preparation and
fair presentation of consolidated financial statements that are free from material misstatement, whether
due to fraud or error.

In preparing the consolidated financial statements, management is required to evaluate whether there are
conditions or events, considered in the aggregate, that raise substantial doubt about Smart
Communications Holding, lnc.'s ability to continue as a going concern within one year after the date that
the consolidated financial statements are available to be issued.




                                                                                                           1




                                                                                            CONFIDENTIAL
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Auditor's Responsibilities for the Audit of the Consolidated Financial Statements

Our objectives are to obtain reasonable assurance about whether the consolidated financial statements
as a whole are free from material misstatement, whether due to fraud or error, and to issue an auditor's
report that includes our opinion. Reasonable assurance is a high level of assurance but is not absolute
assurance and therefore is not a guarantee that an audit conducted in accordance with generally
accepted auditing standards will always detect a material misstatement when it exists. The risk of not
detecting a material misstatement resulting from fraud is higher than for one resulting from error, as fraud
may involve collusion, forgery, intentional omissions, misrepresentations, or the override of internal
control. Misstatements are considered material if there is a substantial likelihood that, individually or in the
aggregate, they would influence the judgment made by a reasonable user based on the consolidated
financial statements.

In performing an audit in accordance with generally accepted auditing standards, we:




                                                                                 L
        Exercise professional judgment and maintain professional skepticism throughout the audit.




                                                                          A
                                                                       TI
        Identify and assess the risks of material misstatement of the consolidated financial statements,
        whether due to fraud or error, and design and perform audit procedures responsive to those




                                                                    EN
        risks. Such procedures include examining, on a test basis, evidence regarding the amounts and
        disclosures in the consolidated financial statements.


                                                           ID
        Obtain an understanding of internal control relevant to the audit in order to design audit
                                                         NF
        procedures that are appropriate in the circumstances but not for the purpose of expressing an
        opinion on the effectiveness of Smart Communications Holding, lnc.'s internal control.
        Accordingly, no such opinion is expressed.
                                                   CO


        Evaluate the appropriateness of accounting policies used and the reasonableness of significant
        accounting estimates made by management, as well as evaluate the overall presentation of the
                                          D



        consolidated financial statements.
                                        AN




        Conclude whether, in our judgment, there are conditions or events, considered in the aggregate,
        that raise substantial doubt about Smart Communications Holding, lnc.'s ability to continue as a
                                   E




        going concern for a reasonable period of time.
                               AT




We are required to communicate with those charged with governance regarding, among other matters,
                     IV




the planned scope and timing of the audit, significant audit findings, and certain internal control-related
matters that we identified during the audit.
                   PR




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.M. £. SJtl'eve Cl'.A, l'.C.
Whitehall, Michigan 49461
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                                                                                                   SMART_B&R 000305
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                            Smart Communications Holding, Inc.
                                 Consolidated Batanc_e Sheet
                                     December 31, 2022
                                          ASSETS
Current Assets
    Cash and Cash Equivalents                      $         865,720
    Accounts Receivable - Trade                              462,259
    Federal Corporate Income Tax Receivable                1,375,000
    Florida Corporate Income Tax Receivable                  459,114
    Technology Grant Advance                                  37,539
    Prepaid Expenses                                         723,934
    Inventory                                                690,704
Total Current Assets                                                    $      4,614,270
Fixed Assets
    Buildings                                              5,071,155
    Kiosk Computer System                                  2,987,602




                                                                                                 L
    Computer Software                                     2,987,876




                                                                                            A
    leasehold Improvements                                  355,751
    Vehicles                                              2,682,697




                                                                                         TI
    Display System & Demo Build                              43,780
    Equipment                                               599,469




                                                                                      EN
    Furniture                                               163,692
                                                         14,892,022




                                                                              ID
    Less: Accumulated Depreciation                       (7,158,755)
Property & Equipment, Net                                                   NF 7,733,267
Other Assets
    Shareholder Loans                                      2,914,086
    Affiliated Entities Receivable
                                                                CO

         Smart Communications Yacht Holding LLC            5,505,639
         Mai!guard Federal Inc                             1,746,369
         Loco Florida lLC                                  1,358,011
         HLFIP                                               169,685
                                                     D



Total other Assets                                                           11,693,790
                    TOTAL ASSETS                                             24,041,327
                                                   AN




                                                                        $


                                          LIABILITIES AND EQUITY
LIABILITIES
                                              E




Current liabilities
                                       AT




    Accounts Payable                               $      1,277,645
    Accrued Credit Cards                                    182,611
    Accrued Commissions                                     971,993
                              IV




    Accrued Facility Tech Grant                             142,998
    Accrued Expenses                                        201,592
                            PR




    Current Portion - Long Term Debt                        589,405
Total Current Liabilities                                               $      3,366,244
long Term Liabilities
    lattice Technology License                              665,000
    Note Payable- HLFIP                                  52,848,813
    interest Payable - HLFJP                              5,592,170
    Notes Payable - Vehicles                                 59,714
    Less Current Portion                                   (589,405)
Total Long Term Debt                                                         58,576,292
Total Liabilities                                                            61,942,536
EQUITY
Common Stock                                                 448,968
Paid In Capital                                              392,151
Retained Earnings                                        (38,742,328)
Total Equity                                                                 (37,901,209)
         TOTAL LIABILITIES AND EQUITY                                   $     24,041,327



                                               See Notes to Consolidated Financial Statements.                     3




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                                   Smart Communications Holding, Inc.
                                   Consolidated Statement of Income
                                  For the year ended December 31, 2022
Revenue
   Mail Services Income                                       $       4,512,000
   Messaging Sales                                                   25,801,718
  Telephone Call Sales                                                9,982,532
  Telephone Service Fees                                              4,388,973
   Trust Account Funding Fees                                            37,076
   Miscellaneous Income                                                  93,375
                                                                     44,815,675
   Less Reurns and Allowances                                           (35,341)
                                                                     44,780,334
Total Cost of Sales                                                 (25,540,158)




                                                                                   L
Gross Profit                                                         19,240,176




                                                                           A
                                                                        TI
Total Operating Expenses                                            (32,041,827)




                                                                     EN
Income /Loss from Operations                                        (12,801,651)




                                                           ID
Other Income and (Expense)                               NF
   Interest Expense                         $     (461,010)
   Penalties and Late Fees                         (22,137)
                                                                       (483,147)
                                                   CO

Net Other Income and (Expense)                                         (483,147)

Net Income (Loss) for the Year                                $     (13,284,798)
                                            D
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                                 See Notes to Consolidated Financial Statements                      4




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                                                                                          SMART_B&R 000307
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                            Smart Communications Holding, Inc.
                       Consolidated Statement of Income - Cost of Sa/es
                           For the year ended December 31, 2022

Cost of Sales
Beginning Inventory                          $                 $    1,894,859
  Computer and Tablet Purchases                   3,716,300
  Software Purchases                                171,080
  Technology Grant & Services - Facilities          214,397
  Equipment Design                                   70,000
  Watch                                             144,714
  Voice Over IP                                     224,730




                                                                                 L
  Freight and Shipping                              548,212




                                                                         A
  Telecommunications Taxes Expense                  629,686




                                                                      TI
  Contractor Services                             1,605,422




                                                                   EN
  Faciliites Commissions Expense                 11,322,286
  Salesperson Commissions                           164,193
  Sublicense Royalty Fees Expense                    23,496


                                                                ID
  Data Sorage & Server Hosting                      167,343   NF
  Labor - Telephone CC Sales                        616,321
  Labor - Installations                             258,964
                                                       CO

  Labor - Mail Processing                           466,778
   Labor - Repairs & Maintenance                    601,662
   Internet Services                                478,554
                                                   D



  Merchant Card Fees                              1,625,594
                                                 AN




  Travel                                          1,204,257
  Meals                                              82,014
                                                                   24,336,003
                                       E




                                                                   26,230,862
                                   AT




Less Ending Inventory                                                (690,704)
Cost of Sales                                                      25,540,158
                            IV
                          PR




                               See Notes to Consolidated Financial Statements                      5




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                                                                                        SMART_B&R 000308
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                           Smart Communications Holding, Inc.
                Consolidated Statement of Income - Operating Expenses
                          For the year ended December 31, 2022


Description                               Amount
  Advertising and Promotions          $       187,879
   Bank Service Fees                            6,804
   Depreciation Expense                     1,636,576
   Health Insurance                           369,967
  Workman Compensation Insurance               22,601
   Business Insurance Expense                331,853
  Outside Services                             9,744




                                                                          L
   Dues and Subscriptions                     98,821




                                                                       A
  Computer Expenses                          162,968




                                                                    TI
   Professional Fees                         110,937




                                                                 EN
   Regulatory and Registration Fees          587,094
   Legal Fees                              2,562,058
   IP License Fees                        17,874,783


                                                      ID
  Officer Compensation                       160,385NF
  Wages and Salaries                       4,814,980
  Payroll Taxes Expense                      568,542
                                              CO

  Payroll Service Fees                        79,354
   Property Taxes                             71,658
  Repairs and Maintenance                    472,332
                                        D



   Rent Expense                              793,547
                                      AN




  Telephone Expense                           50,197
  Contract Labor Expense                     293,580
  Website Design and Maintenance              89,318
                                E




  Client Welfare Expense                     142,976
                            AT




  Recruitment Fees                           131,372
  Professional Education                       8,316
                  IV




  Licenses and Permits                           162
                PR




  Charitable Contributions                    19,340
  Employee Welfare Expense                     7,708
  Meals and Entertainment                    144,538
  Office Expense                             160,302
  Utilities                                   50,197
  Postage and Shipping                        18,982
  Other Expenses                               1,958
Total Operating Expenses                  32,041,827




                             See Notes to Consolidated Financial Statements                       6




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                                        Smart Communications Holding, Inc.
                                    Consolidated Statement of Retained Earnings
                                       For the year ended December 31, 2022



Retained Earnings - Beginning of Year                                                    $   15,211,356

Effect on Retained Earnings for Prior Years' IP license Fee Liability and Interest           (40,668,886)

Net Income for the Year                                                                      (13,284,798)

Retained Earnings-End of Year                                                            $   (38,742,328)




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                                 See Notes to Consolidated Financial Statements.                                    7




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                                    Smart Communications Holding, Inc.
                                    Consolidated Statement of Cash Flows
                                    For the year ended December 31, 2022


Cash Flows from (Provided to) Operating Activities
  Net Income (Loss) form Operations                                       $    (13,284,798)
  Adjustments to reconcile increase in net assets
  to net cash provided by (used in) operating activities:
     Depreciation                                                                1,636,576
                                                                               (11,648,222)
     (Increase) Decrease in operating assets:
     Accounts Receivable                                                          (223,173)




                                                                                  L
     Corporate Taxes Receivable                                                 (1,624,177)




                                                                            A
     Employee Advances Receivable                                                       7,149




                                                                         TI
     Other Receivables                                                          (9,364,949)




                                                                      EN
     Prepaid Expenses                                                                 (49,434)
     Prepaid Corporate Taxes                                                      (345,697)




                                                                 ID
     Inventory                                                                   1,203,684
     Deferred Taxes                                                                   90,269
                                                               NF
     Increase (Decrease) in operating liabilities:
     Accounts Payable                                                                 (53,465)
                                                        CO

     Accrued Credit Cards Payable                                                      79,693
     Accrued Expenses                                                             278,863
     Accrued Federal Income Taxes                                                     (20,153)
                                               D



     Accrued Payroll and Withholdings                                                  72,115
                                             AN




     Current Portion of Long Term Debt                                            235,595
Net Cash Flows from (Provided to) Operating Activities                         (21,361,902)
                                        E




Cash Flows From ( Provided to) Investing Activities
                                 AT




   Purchase of Fixed Assets - net                                               (1,237,874)
Net Cash Flows From (Provided to) Provided to Investing Activities              (1,237,874)
                        IV




Cash Flows From (Provided to) Financing Activities
                      PR




   Note Payable - IP License Fee                                               (58,440,984)
   Payments on Notes Payable                                                    18,060,844
Net Cash Flows from (Provided to) Financing Activities                          18,060,844


Net Increase (Decrease) in Cash From Operating Activities                       (4,538,932)


Cash and Cash Equivalents at Beginning of Year                                   5,404,652


Cash and Cash Equivalents at End of Year                                  $           865,720


Interest Expense for the year was in the amount of$ 461,010.
Taxes Paid for the year was in the amount of$ 1,813,961.


                                     See Notes to Consolidated Financial Statements                           8




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                                Smart Communications Holding, Inc.
                             Notes to Consolidated Financial Statements
                               For the year ended December 31, 2022
====================================================================
Note A- Significant Accounting Policies

Basis of Consolidation
The consolidated financial statements include the financial statements of Smart Communications, U.S,
Inc.; Smart Communications, Pasco, Inc.; and Smart Communications, Collier, Inc. Smart
Communications Holding, Inc, owns 100 % of these companies. All transactions between Smart
Communications Holding, Inc. and subsidiaries have been eliminated in the consolidated financial
statements.

Concentration of Credit Risk
The Company normally maintains sufficient cash to meet its anticipated working capital needs. Cash in




                                                                             L
deposit accounts may, at times, exceed the Federal Deposit Insurance Corporation (FDIC) insured limit in




                                                                      A
the amount of$ 250,000. However, The Company has not experienced any losses in such accounts and




                                                                   TI
therefore believes it is not exposed to any significant credit risk in these accounts.




                                                                EN
Cash and Cash Equivalents
For purposes of the statement of cash flows, the Company considers all highly liquid investments,


                                                        ID
generally those assets readily convertible to known amounts of cash with a maturity of three months or
less, to be cash equivalents.
                                                      NF
Accounts Receivable
Accounts Receivable are customer obligations due under normal trade conditions that have been
                                               CO

received after the year end but attributable to the current year. The Company considers these accounts
receivable to be fully collectible; accordingly, no allowance for doubtful accounts is required. If amounts
become uncollectible, they are charged to operations when that determination is made.
                                       D
                                     AN




Inventory
Inventory consists of tablets, kiosks, and various computer parts and accessories, and is stated at the
lower of cost or market using the first-in, first-out method.
                                 E
                           AT




Property and Equipment
Property and equipment is stated at cost less accumulated depreciation. Provisions for depreciation of
                   IV




assets are computed using the straight-line at rates which are intended to amortize the cost of such
assets over their useful lives which range from 5 to 40 years. Leasehold Improvements are amortized
                 PR




over the service lives of the improvements, generally 40 years.

Revenue Recognition
Revenues are generally recognized when realized or realizable, and when earned (generally when
goods are transferred or services rendered), no matter when payment is received. The Company
recognizes revenue from messaging services at the point of sale, net of sales taxes (if any). Service
contract revenue is recognized when the service is performed.

The Company adopted FASB ASC 606, Revenues from Contracts with Customers, which amended the
existing standards for revenue recognition. The adoption of this new revenue standard does not have a
significant impact on the amount and timing of revenue recognized in the Company's financial
statements. Based on the Company's evaluation process and review of its contracts with customers, the
timing and amount of revenue recognized previously is consistent with how revenue is recognized under
the new standard. No changes were required to reported revenues as a result of the adoption of FASB
ASC606.
                                                                                                    9




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                                 Smart Communications Holding, Inc.
                              Notes to Consolidated Financial Statements
                                For the year ended December 31, 2022
=========-======-======='---====== ==-===============
Note A- Significant Accounting Policies (continued)

Use of Estimates
These financial statements have been prepared in conformity with accounting principles generally
accepted in the United States of America. Management is required to make certain estimates and
assumptions that affect amounts reported in the financial statements. Actual results may differ from these
estimates.

Advertising Costs
Advertising costs are charged to operations when incurred. For the year ended December 31, 2022,




                                                                            L
advertising expense amounted to$ 187,879.




                                                                        A
                                                                     TI
Note B- Property and Equipment




                                                                  EN
Property and equipment are stated at cost. All property and equipment and leasehold improvements are
depreciated on the straight-line method. Repairs and maintenance of property and equipment are


                                                       ID
charged to operations, and major improvements are capitalized. Upon retirement, sale or other
disposition of assets, the costs and accumulated depreciation are eliminated from the accounts, and any
                                                     NF
resulting gain or loss is included in operations.

For the year ended December 31, 2022, property and equipment consists of the following:
                                                  CO


                                                                         12.31.2022
                                      D



                                                      2022              Accumulated            Net Book
                                    AN




        Descrietion               Cost            Deereciation          Deereciation            Value
 Kiosk Computer System    $      2,987,602    $         313,349   $          2,690,779    $      296,823
 Computer Software               2,987,876              589,406              2,370,375           617,501
                                 E




 Vehicles                        2,682,697              512,738               1,354,744         1,327,953
                           AT




 Display System                     21,280                4,256                  17,277             4,003
 Demo Build                         22,500                1,400                 20,283              2,217
                     IV




 Furniture and Fixtures            163,692               24,972                114,552             49,140
                   PR




 Buildings                       5,071,155               95,780                244,189          4,826,966
 Leasehold Improvements            355,751                9,037                 26,860            328,891
 Mail Service Equipment            414,217               59,174                241,627           172,590
 Eguiement                         185,252               26,464                 78,069           107,183
                          $     14,892,022    $       1,636,576   $          7,158,755    $     7,733,267

All property is depreciated using the straight-line method. Furniture and fixtures, computer software,
demos, kiosks, and vehicles are depreciated over 5 years. Buildings and leasehold improvements are
depreciated over 39 years, and machinery and equipment are depreciated over 7 years. Assets
commence depreciation as of the first full month of usage.




                                                                                                        10




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                                  Smart Communications Holding, Inc.
                               Notes to Consolidated Financial Statements
                                 For the year ended December 31, 2022
=====================================================================
Note D- Loans To Shareholder

At December 31, 2022, a 50 % shareholder owed the Company loans in the amount of$ 2,914,086. No
interest has been accrued on the loans.

Note E - Affiliated Entities

As of December 31, 2022, the Company has accounts receivable from the following affiliated entities:

                          Description                                 Amount
           Smart Communications Yacht Holding LLC            $     5,505,639




                                                                           L
           Mailguard Federal, Inc.                                 1,746,369




                                                                       A
           LOCO Florida, LLC                                       1,358,011




                                                                    TI
           HLFIP                                                     169,685




                                                                 EN
                                                             $     8,779,704




                                                       ID
Note F -Subsequent Events                            NF
Management has evaluated subsequent events through October 25, 2023, the date financial statements
were available to be issued. No events occurred or are pending through this date which would have a
                                              CO

material effect on the financial statements or require disclosure in the financial statements, except as
noted in Footnote Disclosure Note I

Note G- Long Term Debt
                                       D
                                     AN




On May 19, 2020, the Company purchased three Ford Trucks at a total financing cost of$ 93,319.44.
Payments on this loan commenced as of July 3, 2020 in the amount of $ 622.02 per truck, including
interest at the annual rate of 7.2900%, payable monthly for 60 months for each truck. Final payment on
                                 E




this loan is due on June 3, 2025. As of December 31, 2022, the principal balance on the vehicle loan is in
                          AT




the amount of$ 59,713.92. Interest expense on this loan for the year ended December 31, 2022 is in the
amount of $2,988.00
                  IV




As of January 1, 2019, The Company entered into a Technology License Agreement wtth LATTICE
                PR




Incorporated. The Agreement is a Licensing Agreement with LATTICE Software wherein Smart
Communications Holding, Inc. pays LATTICE a license fee, in the amount of$ 2,850,000.00 payable in
monthly installments of $ 47,500.00 for sixty (60) consecutive months beginning on February 1, 2019.
Upon payment in full of the License fee, Smart Communications Holding, Inc. shall pay LATTICE an
annual royalty payment of $ 100.00 each year (the "Royalty Fee"). The Royalty Fee shall be due on or
before December 31, of each year beginning in 2025 and shall continue until the Licensing Agreement is
terminated.

As of December 31, 2022, the Company owed the balance due to LATTICE on the Licensing Agreement
is in the amount of$ 665,000.




                                                                                                       11




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                                Smart Communications Holding, Inc.
                             Notes to Consolidated Financial Statements
                               For the year ended December 31, 2022
===============================================================
Note H - Income Taices

Income taxes are provided for the tax effects of transactions reported in the financial statements and
consist of taxes currently due. The Company is required to recognize, measure, classify and disclose in
the consolidated financial statements uncertain tax positions taken or expected to be taken in the
Company's tax returns. Management has determined that the Company does not have any uncertain tax
positions and associated unrecognized benefits that materially impact the consolidated financial
statements or related disclosures. Since tax matters are subject to some degree of uncertainty, there can
be no assurance that the Company's tax returns will not be challenged by the taxing authorities and that
the Company will not be subject to additional tax, penalties, and interest as a result of such challenge.
Penalties and interest assessed by income taxing authorities would be included in operating expenses.




                                                                       A      L
The Company is taxed as a C Corporation under the Internal Revenue Code. For the year ended




                                                                    TI
December 31, 2022, the Company incurred a net operating loss in the amount of$ 12,710,042, a
carryover of disallowed business interest expense, and charitable contributions in the amount of $




                                                                 EN
19,340.



                                                         ID
NOTE 1- Intellectual Property License                  NF
Smart Communications Holding, Inc. provides specialized prison inmate communication technologies. A
related entity, HLFIP Holding, Inc. is the owner of proprietary intellectual property, patents, trademarks,
and other know how that provides the specialized communications systems (collectively known as
                                                CO

"HLFIP IP") which connect prison inmates, correctional faciltty administration, courts, attorneys, and
families. As such, the HLFIP IP improves the lives and safety of the incarcerated inmates, correctional
facility staff, and others involved in the delivery of those specialized communications services, as well as
                                        D



the elimination of contraband in postal mail at correctional facilmes.
                                      AN




HLFIP Holding, Inc. provides Smart Communications Holding, Inc. an exclusive license of its HLFIP IP for
distribution and use at correctional facilities across the United States of America. During and for the year
                                  E




ended December 31, 2022, Smart Communications Holding, Inc. sublicensed the HLFIP IP to Smart
                            AT




Communications Collier, Inc. (a ubsidiary company) for distribution and use at those correctional faciltties.
HLFIP is the licensor and Smart Communications, Holding, Inc. is the exclusive licensee of HLFIP IP, for
                    IV




which a royalty rate is charged by HLFIP to the Company. The royalty rate of 40 % of net sales was
charged for the HLFIP IP. The royalty rate was determined by measurement of and comparison to
                  PR




independent agreements, using the method known as the Comparable Uncontrolled Transaction
("CUT"), which was selected as the best method under Internal Revenue Code Section 482 and tts
Treasury Regulations Section 1.482-4(c)(2). Accordingly, Smart Communications Holding, Inc. (via its
subsidiary, Smart Communications Collier, Inc.) reported an IP license expense, in the amount of $
17,874,784 for the year ended December 31, 2022. Additionally, the Company reported interest in the
amount of$ 446, 870, calculated at the rate of 5 % for one-half of the year, 2022.

The Company has also reflected the prior years' use of the HLFIP IP license for the years of 2015- 2021
as a long-term liability in the amount of$ 52,848,813, and accrued interest of$ 5,592,170. Retained
earnings has been adjusted to reflect effects of this inclusion for prior year use of the HLFIP license.




                                                                                                         12




                                                                                            CONFIDENTIAL
                                                                                               SMART_B&R 000315
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                                         Corrections simplified
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Who is Smart Communications?

   THE MOST INNOVATIVE
        TECHNOLOGY COMPANY
                                                       IN CORRECTIONS

    HISTORICALLY 3-5 YEARS AHEAD OF EVERY OTHER
              VENDOR IN CORRECTIONS

          How have we accomplished this?
                                                   Case 8:24-bk-07106-RCT   Doc 45-1   Filed 12/17/24   Page 35 of 110


                                            A HISTORY OF INDUSTRY FIRSTS
                                                 Our Timeline of Innovation and Implementation




                                                            Invented and
                                                            patented the                        Instituted and
   2009                                     2012                                2016                                     2018                                  2022
                                                             MailGuard                             patented                           Deployed next-
                Developed Corrections                                                          MailGuardLegal®                          generation
                 first electronic request                    Postal Mail
                                                             Elimination                          legal mail                       SmartVisit™ video
                system, SmartRequest™                                                              solution                        visitation platform
                                                               System®




  Introduced                              Established                        Deployed the                         integrated the                           Several new
 corrections’                             first facility                     SmartTablet™                            first VOIP                          technologies and
first two-way                               wide law                          Corrections                         inmate calling                           Patents to be
    inmate                             library solution                     most intelligent                        platform in                             announced
   electronic            2010           in corrections         2015          tablet system          2017                                   2019
                                                                                                                    corrections
  messaging
    system

                                                           We are proven innovators in corrections.
                                                           Where Smart goes, our competitors follow.
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ABOUT SMART COMMUNICATIONS

Different Culture - Different Approach - Different Outcome.
• Founded in 2009 with a mission to change the status quo of the Corrections
  industry with new technology.

• Entered the Corrections industry as a true technology company, not the
  traditional telecommunications company.

• Created new technologies with new streams of revenue in Corrections.

• Focused on innovation and technologies that benefited families, agencies
  and the company- true Win-Win solutions for sustainable growth.
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Smart Communications Corporate Headquarters, Seminole, FL
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                                                             As of
                                                             4/15/22
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Current technology revenue and growth schedule/ Not including
new technology introduction to market.
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What is the next Revolution of Corrections?

Mind
       Body
          Spirit

            Smart Communications welcomes you to the future of incarceration
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The Corrections Industry’s                              ✓ Patent Pending
First Offender Smartwatch™                              ✓ 100% Open Market
                                                        ✓ Non-Removable
                                                        ✓ Inmate Tracking And Intelligence
                                                        ✓ Communication, Phone, Text, Video
                                                        ✓ Health And Wellness Tracking And Analytics
                                                        ✓ Spy Tools, Voice Biometrics And More.
                                                        ✓ Incarceration Market 2.2 Million ADP
                                                        ✓ Parole/Probation Market 4.5 Million ADP




 Released To Market 3rd Quarter 2022
                          Case 8:24-bk-07106-RCT   Doc 45-1   Filed 12/17/24   Page 48 of 110
Take a journey outside of prison walls on the fully interactive and integrated SmartCycle™

            SmartCycle™ Patent Pending             ✓ Transform the incarceration environment from the inside out.

                                                   ✓ Total mind, body and spirit transformation with a fully
                                                     connected and interactive program specially designed for the
                                                     incarceration environment.

                                                   ✓ Earn free Communication credits with family and friends.

                                                   ✓ Earn free tablet entertainment time, music, movies, games.

                                                   ✓ Learn positive behavioral traits, such as Effort = Reward.


                                                        Smart Communications technology leads the way for
                                                           prison reform and reimaging the incarceration
                                                        experience. Solving a major pain point of reform and
                                                                lowering recidivism in this industry.

Released To Market 1st Quarter 2023
SmartReality™ VR
                         Case 8:24-bk-07106-RCT   Doc 45-1
                                                             • Interactive
                                                             Filed 12/17/24
                                                                        Page 49 of 110
                                                                           Virtual Reality Reentry Programing To
                                                               Revolutionize The Way Inmates Reenter Society.

                                                             • Real Life Interactive Programing To Prepare Inmates For
                                                               A Successful Transition Into Society, Dramatically
                                                               Reducing Recidivism.




 Released To Market 1st Quarter 2024
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Accelerated growth factors
for the future
• 3 new Industry changing technologies scheduled                                                        • Successful pilot for inmate
  for market release over the next 3 years.                                                               mail processing completed in
                                                                                                          Federal Bureau of Prisons,
• 100% untapped market for these new                                                                      scheduled to deploy
  technologies that integrate with existing                                                               nationwide coming year with
  technologies.                                                                                           150k ADP.

• Untapped market of 4.5 million ADP in Community                                                       • Patent litigation for
  supervision Probation/Parole with offender                                                              MailGuard™ new Patent
  SmartWatch™                                                                                             recently issued by US Patent
                                                                                                          Office – Possible market
                                                                                                          monopoly for over a decade.
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                                                                      This is the
                                              FUTURE OF INCARCERATION
                                                          Smart Communications
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                     IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                              IN AND FOR SARASOTA COUNTY, FLORIDA


        JONATHAN LOGAN and SMART
        COMMUNICATIONS HOLDING, INC.,

        Plaintiffs
        v.                                                            Case No: 2023-CA-1002

        JANICE LOGAN, individually and as Trustee
        of the James Logan Family Trust dated
        February 10, 2021 and ALEXIS LOGAN,
        individually,
        Defendants.
        _______________________________________/                      CONSOLIDATED WITH

        JANICE LOGAN, as Trustee of the James
        Logan Family Trust, dated February 10, 2021,

        Plaintiff,                                                    Case No: 2023-CA-1280

        v.

        JONATHAN D. LOGAN and SMART
        COMMUNICATIONS HOLDING, INC.,
        nominal defendant, and LOCO FLORIDA, LLC,
        nominal defendant

              Defendants.
        ________________________________________/

          SMART COMMUNICATIONS HOLDING, INC. AND SMART COMMUNICATIONS
            HOLDING LLC’S NOTICE OF SERVING RESPONSES TO JANICE LOGAN’S
                          FOURTH SET OF INTERROGATORIES

                 Smart Communications Holding, Inc. and Smart Communications Holding LLC

        (collectively “Smart”), by and through their undersigned counsel, hereby give notice that on this

        27th day of August, 2024, Smart served their verified responses to Janice Logan, as Trustee of the

        James Logan Family Trust, dated February 10, 2021 (“Plaintiff”) Fourth Set of Interrogatories

        dated July 24, 2024, on Plaintiff's counsel, via electronic service.




        77582414;1
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Dated: August 27, 2024


             STEARNS WEAVER MILLER                              AKERMAN LLP
             WEISSLER ALHADEFF &                                401 E. Jackson Street, Suite 1700
             SITTERSON, P.A.                                    Tampa, FL 33602-5250
             Highpoint Center                                   Office: (813) 23-7333
             106 East College Avenue - Suite 700                Fax: (813)218-5495
             Tallahassee, FL 32301                              mark.bernet@akerman.com
             Telephone: (850) 580-7200                          caren.deruiter@akerman.com
             gburhans@stearnsweaver.com

                                                                By:/s/ Mark J. Bernet
             By: s/ Glenn Burhans, Jr.                          Mark J. Bernet, Esq.
             Glenn Burhans, Jr.                                 Florida Bar No. 606359
             Florida Bar No. 605867
                                                                -and-
             -and-
                                                                AKERMAN LLP
             STEARNS WEAVER MILLER                              201 East Las Olas Boulevard
             WEISSLER ALHADEFF &                                Suite 1800
             SITTERSON, P.A.                                    Fort Lauderdale, FL 33301
             200 East Las Olas Boulevard, Suite 2100            Telephone: (954) 463-2700
             Fort Lauderdale, Florida 33301                     Fax: (954) 463-2224
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             mharwin@stearnsweaver.com                          Jason S. Oletsky, Esq.
             mhernandez@stearnsweaver.com                       Florida Bar No. 9301
                                                                jason.oletskey@akerman.com
             By: /s/Michael J. Harwin                           jill.parnes@akerman.com
             Michael J. Harwin                                  Dustin B. Hillsley, Esq.
             Florida Bar No.: 1018578                           Florida Bar No. 1018589
                                                                dustin.hillsley@akerman.com
             Counsel for Smart Communications                   deborah.karlson@akerman.com
             Holding, Inc. And Smart Communications             Max C. Rudolf, Esq.
             Holding, LLC                                       Florida Bar No. 98766
                                                                max.rudolf@akerman.com
                                                                deborah.karlson@akerman.com

                                                                Counsel for Smart Communications
                                                                Holding, Inc. and Smart Communications
                                                                Holding, LLC




                                                   -2-
77582414;1
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on August

27, 2024, via electronic mail through the Florida Court’s E-Portal to all counsel of record.



                                                     /s/Max C. Rudolf
                                                     Max C. Rudolf, Esq.




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             IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                      IN AND FOR SARASOTA COUNTY, FLORIDA

JONATHAN LOGAN and SMART
COMMUNICATIONS HOLDING, INC.,

         Plaintiffs
v.                                                                Case No: 2023-CA-1002

JANICE LOGAN, individually and as Trustee
of the James Logan Family Trust dated
February 10, 2021 and ALEXIS LOGAN,
individually,
      Defendants.
_______________________________________/                          CONSOLIDATED WITH

JANICE LOGAN, as Trustee of the James
Logan Family Trust, dated February 10, 2021,

         Plaintiff,                                               Case No: 2023-CA-1280

v.

JONATHAN D. LOGAN and SMART
COMMUNICATIONS HOLDING, INC.,
nominal defendant, and LOCO FLORIDA, LLC,
nominal defendant

      Defendants.
________________________________________/

     SMART COMMUNICATIONS HOLDING, INC. AND SMART COMMUNICATION
              HOLDING, LLC’S RESPONSES TO JANICE LOGAN’S
                   FOURTH SET OF INTERROGATORIES

         Smart Communications Holding, Inc. and Smart Communication Holding, LLC

(collectively “Smart”), by and through its undersigned counsel, hereby responds to Janice Logan,

as Trustee of the James Logan Family Trust, dated February 10, 2021 (“Janice”) Fourth Set of

Interrogatories and states as follows:




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                                      GENERAL OBJECTIONS
             1.   Smart objects to any and all Interrogatories to the extent they call for the

 disclosure of information that is subject to any legal privilege or doctrine which prevents or

 limits their disclosure to third parties including, without limitation, the attorney/client privilege

 or the work-product doctrine. Information subject to such protections will not be provided.

             2.   Smart objects to any and all Interrogatories to the extent they call for the

 disclosure of information that constitutes or contains proprietary or confidential information.

             4.   Smart objects to any and all Interrogatories, including the definitions therein, to

 the extent they vague, ambiguous and/or misleading or purport to impose any duty or obligation

 beyond those required by the Florida Statutes, the Florida Rules of Civil Procedure, or other

 applicable law.

             5.   Smart objects to any and all Interrogatories, including the definitions therein, to

 the extent they seek information beyond the valuation time period defined by Fla. Stat. §

 607.1436(4) or otherwise modified by Court order. More specifically, Smart objects to the

 Instruction defining the time period for these Interrogatories as spanning January 1, 2018,

 through the present to the extent that documents or information concern matters after May 28,

 2024, the day before Janice’s petition under Fla. Stat. § 607.1430 was filed, are irrelevant to a

 valuation analysis under Section 607.1436. See Fla. Stat. § 607.1436(4).

             6.   The answers, and any and all documents provided in response, are made and

 given without the waiver of any privilege or protection raised in these answers or of any

 argument or objection that Smart may have with respect to the competency, authenticity,

 relevancy, or admissibility of such information at any stage of this or any other legal proceeding,

 including at trial of this matter.

             7.   The responses set forth herein are based on Smart’s knowledge and belief as of

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 the date of these responses, and Smart’s investigation into this matter is continuing and ongoing.

 Accordingly, Smart reserves the right to add, change, supplement, or modify its responses to

 these Interrogatories should additional information be identified at a later date.

              All answers are made subject to and without waiving the above General Objections.

                             RESPONSE TO INTERROGATORIES
         1.      Identify each and every SmartComm employee, officer, director, or agent who

participated in the decision to pay HLFIP the 40% net sales intellectual property Royalty Fee.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading; particularly, Smart

objects to the use of the term “decision” as mischaracterizing the matter addressed by the

Interrogatory. In responding, Smart identifies its employees, officers, directors, and agents

involved with the process in 2023 that resulted in the Exclusive Intercompany Intellectual Property

License Agreement and the Royalty Fee. For the avoidance of doubt, Smart states that it owes and

owed HLFIP a royalty fee in connection with the use of HLFIP IP before 2023. Subject to the

foregoing specific and general objections, Smart identifies Jon Logan. For completeness, although

they are not Smart employees, officers, directors, or agents, Smart also states that advisors at

Marcum LLP were involved in the process.


         2.      Identify each and every SmartComm employee, officer, director, or agent who

negotiated with HLFIP prior to agreeing to the 40% net sales intellectual property Royalty Fee.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading; particularly, Smart

objects to the use of the term “negotiated” as mischaracterizing the matter addressed by the

Interrogatory. In responding, Smart identifies its employees, officers, directors, and agents


                                                  3
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involved with the process in 2023 that resulted in the Exclusive Intercompany Intellectual Property

License Agreement and the Royalty Fee referenced therein. For the avoidance of doubt, Smart

states that it owes and owed HLFIP a royalty fee in connection with the use of HLFIP IP before

2023. Subject to the foregoing specific and general objections, Smart identifies Jon Logan. For

completeness, although they are not Smart employees, officers, directors, or agents, Smart also

states that advisors at Marcum LLP were involved in the process.


         3.      Identify each and every independent third-party evaluation of the value of HLFIP’s

intellectual property that SmartComm commissioned, conducted, received, or reviewed prior to

entering into the Exclusive Intercompany Intellectual Property License Agreement on August 29,

2023.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading; particularly, Smart

objects to the use of the phrase “evaluation of the value of HLFIP’s intellectual property” as

mischaracterizing the matter addressed by the Interrogatory. In responding, Smart identifies the

analysis of whether HLFIP and Smart were transacting in a manner considered to be consistent

with the arm’s-length standard from a US transfer pricing perspective. Subject to the foregoing

specific and general objections, Smart identifies the Marcum US Transfer Pricing Documentation

Study of HLFIP Holding, Inc. For Fiscal Year Ended December 31, 2022 dated October 4, 2023

(the “Marcum Report”).




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         4.      Identify the exact date you contend the 40% net sales intellectual property Royalty

Fee was agreed upon between SmartComm and HLFIP, and the person(s) who agreed to it.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading. “Royalty Fee” is

defined in the Interrogatories as “the defined term in paragraph 5.1 of the Exclusive Intercompany

Intellectual Property License Agreement” (the “License Agreement”): specifically, “Licensee

[SmartComm] shall pay to Licensor [HLFIP] a royalty of 40 percent (40%) of the Net Sales of

products and services sold by Licensee to any third party.” The License Agreement was executed

on August 29, 2023. Subject to the foregoing specific and general objections, because the License

Agreement was executed as of August 29, 2023, Smart responds: August 29, 2023. In further

response, Smart identifies Jonathan Logan and the advisors at Marcum LLP.

         For the avoidance of doubt, though not requested, Smart states that a royalty fee was agreed

upon much earlier than the “Royalty Fee” as defined in the License Agreement. In providing this

additional response, Smart identifies the date on which James Logan, Jon Logan, Alexis Logan,

and Smart entered into a written agreement that expressly recognized that “Jonathan Logan

exclusively owns and will retain exclusive ownership” of the intellectual property for which Jon

was the “inventor.” Subject to the foregoing specific and general objections, that date is April 30,

2015. In further response, Smart identifies the date of the Marcum Report, which is October 4,

2023.




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         5.      Identify the exact date(s) you contend the 40% net sales intellectual property

Royalty Fee was first invoiced to, payable by, and paid by SmartComm.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading; particularly, Smart

objects to the use of the phrase “exact date” as mischaracterizing the matter addressed by the

Interrogatory. Smart further objects to the term “invoiced to” as vague and ambiguous. The date a

debt is invoiced, if it is invoiced, is not necessarily the date a debt is owed. In responding, Smart

construes “invoiced” as meaning a written demand for payment of a debt. Subject to the foregoing

specific and general objections, Smart identifies the date HLFIP sent its notice and demand to

Smart, which is April 15, 2024. In further response, Smart identifies the date HLFIP sent Smart its

letter for Limited Extension of License to IP and Notice of Default, which is April 17, 2024.

         As to the date a royalty was payable by Smart to HLFIP, the Interrogatory calls for a legal

conclusion and on that basis Smart objects. In further response, Smart states that the royalty fee

would be payable as of the date Smart first started using HLFIP’s IP. Subject to the foregoing

specific and general objections, and in further response, Smart states that it has not yet paid HLFIP

any of the royalty fees that it currently owes pursuant to the Court’s December 15, 2023 order.

However, the obligation is reflected in Smart’s tax returns as a deduction for royalties payable to

HLFIP.




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         6.      Identify each and every Royalty Fee payment SmartComm has disbursed to HLFIP,

and the date and amount of each and every payment.

         RESPONSE:

         Subject to the foregoing specific and general objections, Smart states that while no payment

has yet been disbursed to HLFIP in light of the December 15, 2023 order, Smart recognized a

deduction for royalties payable to HLFIP on its tax returns.


         7.      Identify each and every document and communication you contend evidences,

demonstrates, or contains support for the existence of the Royalty Fee prior to August 29, 2023.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading. “Royalty Fee” is

defined in the Interrogatories as “the defined term in paragraph 5.1 of the Exclusive Intercompany

Intellectual Property License Agreement” (the “License Agreement”): specifically, “Licensee

[SmartComm] shall pay to Licensor [HLFIP] a royalty of 40 percent (40%) of the Net Sales of

products and services sold by Licensee to any third party.” The “License Agreement” as defined

in the Interrogatories was executed on August 29, 2023. Notwithstanding, and subject to the

foregoing specific and general objections, Smart states:

         A royalty fee was agreed upon much earlier than the “Royalty Fee” as defined in the

License Agreement. In providing this response, Smart identifies April 30, 2015 as the date in

which James Logan, Jon Logan, Alexis Logan, and Smart entered into a written agreement that

expressly recognized that “Jonathan Logan exclusively owns and will retain exclusive ownership”

of the intellectual property for which Jon was the “inventor.”

         For the avoidance of doubt, though not requested, Smart states that there are numerous

documents that evidence, demonstrate, and contain support for the historical existence of a royalty


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fee long owed by Smart to HLFIP. Nearly every single document created by Smart that discusses,

or even mentions or refers to, any products or services that use or deploy HLFIP’s IP and

technology in any way evidences Smart’s royalty fee obligation. However, Smart does not concede

the relevance of these documents, nor the proportionality of producing them in this litigation.

         Smart, however, specifically identifies the following: the Exclusive Intercompany

Intellection Property License Agreement dated August 29, 2023; the Marcum Report; the

Agreement between Jon Logan, Jim Logan, and Alexis Logan concerning the creation and

ownership of intellectual property dated April 30, 2015 (signed by Alexis Logan on May 18, 2015,

and signed by Jim Logan on April 30, 2015); the Memorandum re: Termination of Exclusive Oral

License Agreement dated August 29, 2023; and the letters from HLFIP to Smart dated April 15,

2024 and April 17, 2024.


         8.      Identify each and every SmartComm employee, officer, director, or agent who was

aware of the Royalty Fee prior to August 29, 2023.

         RESPONSE:

         Smart objects to the Interrogatory as vague, ambiguous and misleading. “Royalty Fee” is

defined in the Interrogatories as “the defined term in paragraph 5.1 of the Exclusive Intercompany

Intellectual Property License Agreement”: specifically, “Licensee [SmartComm] shall pay to

Licensor [HLFIP] a royalty of 40 percent (40%) of the Net Sales of products and services sold by

Licensee to any third party.” The License Agreement was executed on August 29, 2023. Subject

to the foregoing specific and general objections, Smart incorporates its response to Interrogatory

No. 7 as if fully stated herein.

         Additionally, for the avoidance of doubt, though not requested, Smart identifies Jonathan

Logan and James Logan as employees, officers, directors or agents of Smart aware of HLFIP’s


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royalty fee prior to August 29, 2023. In the interest of completeness, Smart also identifies Alexis

Logan as a person with knowledge, though she was not an employee, officer, director, or agent of

Smart.


         9.      Identify the person(s) who drafted “Note I” to SmartComm’s “Consolidated

Audited Financial Statements” dated December 31, 2022, found on SMART_B&R 000315.

         RESPONSE:

         Smart identifies M.L. Shreve CPA, P.C. as the preparer of the Consolidated Audited

Financial Statements, including that Note. In further response, upon information and belief, the

preparer derived the language, at least in part, from the Marcum Report.


         10.     Identify each and every SmartComm employee, officer, director, or agent who

provided information to Marcum for the Marcum Report.

         RESPONSE:

         Smart identifies Jonathan Logan, Noreen Gunning, and Lisa Eddy.


         11.     Identify each and every document and communication SmartComm provided to

Marcum for the Marcum Report.

         RESPONSE:

         Smart has requested confirmation of this information from Marcum. Pursuant to Florida

Rule of Civil Procedure 1.340(c), Smart will supplement its responses to these Interrogatories to

include information specifying the produced records by Bates number from which the answer may

be derived or ascertained.




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                                               VERIFICATION

          BEFORE ME, the undersigned authority, personally appeared Jonathan Logan as President

of Smart Communications Holding, Inc. and Smart Communications Holding, EEC who, after

being first duly sworn, deposes and says that he has read the answers to the foregoing

Interrogatories and that said answers are, to the best of his knowledge and belief, true and correct.




                                                  By:
                                                  Name: Jonathan Lo:
                                                  Title: President




STATE OF FLORIDA                         )

COUNTY OF PINELLAS                       )



         The foregoing instrument was acknowledged before me, by means of remote online

notarization, this               day of August, 2024, by Jonathan Logan as President of Smart

Communications Holding, Inc. and Smart Communications Holding, EEC, who has produced a

Florida driver’s license as identification.




                           MOREEN A. GUNNING
                    m   2. Notary Public

               ..   si  | State of Florida
                    ..,„Y Comm#HH2579I5
                           Expires 4/27/2026
                                                  Notary Public - State of FloridavJ*
                                                  Printed Name: hIdftPAl fi (/UfdHJlfJb
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            IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                     IN AND FOR SARASOTA COUNTY, FLORIDA

JONATHAN LOGAN and SMART
COMMUNICATIONS HOLDING, INC.
                            Plaintiffs,
v.                                                         Case No. 2023-CA-1002-NC
JANICE LOGAN, individually and as Trustee of the
James Logan Family Trust, dated February 10, 2021;
and ALEXIS LOGAN,
                            Defendants.              /
JANICE LOGAN, as Trustee of the James Logan
Family Trust, dated February 10, 2021,
                     Counterclaim Plaintiff,
v.
JONATHAN D. LOGAN, SMART
COMMUNICATIONS HOLDING, INC., SMART
COMMUNICATIONS HOLDING, LLC, HLFIP
HOLDING, INC, and HLFIP HOLDING, LLC,
                     Counterclaim Defendants.        /
                                                           (CONSOLIDATED)
JANICE LOGAN, as Trustee of the James Logan
Family Trust, dated February 10, 2021, and
derivatively on behalf of Smart Communications
Holding, Inc.,
                                                           Case No.: 2023-CA-1280-NC
                            Plaintiff,

       v.

JONATHAN D. LOGAN,
SMART COMMUNICATIONS HOLDING, INC.,
nominal defendant, SMART COMMUNICATIONS
HOLDING, LLC, HLFIP HOLDING, LLC, LOCO
FLORIDA LLC, and SMART
COMMUNICATIONS YACHT HOLDING, LLC,

                            Defendants.
                                                     /

DEFENDANT HLFIP HOLDING, LLC’S RESPONSES AND OBJECTIONS TO JANICE
             LOGAN’S FIRST SET OF INTERROGATORIES



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       Defendant HLFIP Holdings, LLC (“HLFIP”), by and through undersigned counsel and

pursuant to Fla. R. Civ. P. 1.340, hereby responds and objects to the First Set of Interrogatories to

HLFIP Holdings, LLC, served on July 24, 2024, by Plaintiff Janice Logan, as Trustee of the James

Logan Family Trust, dated February 10, 2021 (“Janice” or “Plaintiff”) as follows:

                                   GENERAL OBJECTIONS

       1.      HLFIP objects to any Definition or Instruction that imposes requirements upon

HLFIP or seeks to require HLFIP to provide information or assume an obligation beyond those

imposed by law or set forth in the Florida Rules of Civil Procedure.

       2.      HLFIP objects to the Interrogatories to the extent they seek information for a time

period beyond that placed at issue by the claims in the operative pleadings or allowed by applicable

statute (e.g., Fla. Stat. § 607.1436(4)). Unless otherwise noted, HLFIP will provide information

and documents for the time period placed at issue by the Parties’ claims, as limited by applicable

laws or the Court.

       3.      HLFIP objects to the Interrogatories to the extent they call for information protected

by the attorney-client privilege or work product doctrine, or any other applicable privilege, rule,

statute, or law. To the extent that any such information is inadvertently provided, it shall not be

deemed a waiver of any applicable privilege, immunity, or protection.

       4.      HLFIP expressly conditions its Response to each and every Interrogatory upon

completion of further discovery and reserves the right to amend and/or supplement any Response

as discovery of additional information may from time to time require.

       5.      HLFIP objects to the Interrogatories to the extent they are overbroad, unduly

burdensome and/or seek to impose upon HLFIP an undue expense or burden that properly should

be borne by Plaintiff.



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       6.      HLFIP objects to the Interrogatories to the extent they seek or encompass

information that (a) is not relevant to the issues in the above-captioned case or (b) is not reasonably

calculated to lead to the discovery of admissible evidence. HLFIP does not concede the relevance

of any information provided in response to the Interrogatories and expressly reserves the right to

object to the introduction into evidence of any responses on relevance or any other grounds.

       7.      HLFIP reserves the right to rely, at trial or in any other proceeding in this action or

any other action, upon information in addition to that identified and/or provided in response to the

Interrogatories.

       8.      Nothing contained herein shall be deemed to constitute an assent to the terms or

definitions used in the Interrogatories. The adoption and/or use by HLFIP of any term that Plaintiff

defines in the Interrogatories is for convenience only and is not intended as a waiver of any

objection stated herein, nor shall it be deemed an admission in any respect.

       9.      HLFIP reserves the right to challenge the competency, relevance, materiality, and

admissibility of, or to object on any ground to the use of, information set forth in the Responses to

the Interrogatories.

       10.     HLFIP objects to the Interrogatories to the extent they seek information that

Plaintiff already has in her possession, custody, or control.

       11.     HLFIP objects to the Interrogatories to the extent they assume the existence of facts

that do not exist and the occurrence of events that did not occur. Any Response of HLFIP to an

individual Interrogatory is not intended to be, and shall not be construed as, an admission that any

factual predicate stated in the Interrogatory is accurate.

       12.     Each of the foregoing “General Objections” is hereby incorporated into each of the

Responses provided below.




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                              RESPONSES TO INTERROGATORIES

       1.        Identify all patents HLFIP holds by patent number, date of application,

original holder of patent if not HLFIP, and date of grant.

Response to Interrogatory No. 1: HLFIP objects to the term “all” in Interrogatory No. 1 as overly

broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. HLFIP further objects to the Interrogatory as vague and ambiguous to the extent it

purports to seeks information regarding pending patents. HLFIP interprets the Interrogatory as

directed to issued patents only. Subject to and without waiving the foregoing specific and general

objections, HLFIP states:

 Patent      Patent Application   Patent Grant
 Number             Date              Date

 11457013        5/10/2019          9/22/2022
 10291617        5/12/2016          5/14/2019
 11637940        5/18/2020          4/25/2023
 10659630        2/26/2019          5/19/2020
 10862891         8/1/2019          12/8/2020
 11201974        8/27/2020         12/14/2021
 11962725        12/13/2021         4/16/2024
 11918850         3/5/2021          3/5/2024




       2.        For any patent(s) identified in response to Interrogatory No. 1 that HLFIP

contends still claim patent-eligible subject matter under 35 U.S.C. §101, notwithstanding the

decision of the United States Court of Appeals for the Federal Circuit in HLFIP Holding,

Inc. v. York County PA, Appeal No. 2022-1940, 2023 U.S. App. LEXIS 21670 (Fed. Circ. Aug.

18, 2023), state all bases for such contentions.

Response to Interrogatory No. 2: HLFIP objects to this Interrogatory as calling for or requiring

expert opinion and/or legal conclusions. Subject to and without waiving the foregoing specific and



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general objections, HLFIP states: The law affords each issued patent the presumption of validity.

See 35 U.S.C. § 282(a) (“A patent shall be presumed valid.”). A patent’s presumption of validity

can only be overcome with clear and convincing evidence. See, e.g., Microsoft Corp. v. i4i Ltd.,

564 U.S. 91, 102 (2011). Moreover, each claim of a patent, whether independent or dependent, is

presumed valid independently of the validity of other claims or other patents. All HLFIP patents

are therefore presumed valid.

       3.      Identify all other, non-patent intellectual property HLFIP holds, as well as the

dates of registration and/or creation and the original holder of the intellectual property if

not HLFIP.

Response to Interrogatory No. 3: HLFIP objects to the term “all” in Interrogatory No. 3 as overly

broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. HLFIP further objects to the term “intellectual property” because it is vague and

ambiguous insofar as it may or may not include intangible assets (like know-how, proprietary

technology, or trade secrets, for example) that HLFIP owns and licenses to SmartComm. Subject

to and without waiving the foregoing specific and general objections, pursuant to Fla. R. Civ. P.

1.340(c), HLFIP refers Plaintiff to the Marcum Report dated October 4, 2023 (to be produced in

response to Plaintiff’s document requests), which acknowledges HLFIP’s technology and know-

how and includes a list of trademarks HLFIP holds as well as patent applications.

       4.      Identify each and every lawsuit you have filed to enforce a patent you hold.

Response to Interrogatory No. 4: HLFIP objects to Interrogatory #4 as overly broad, unduly

burdensome, and not reasonably calculated to lead to the discovery of admissible evidence. Subject

to and without waiving the foregoing specific and general objections, HLFIP states:

      HLFIP Holding, Inc. v. Rutherford County, Tennessee et al., Case No. 3:19-cv-714, United
       States District Court, Tennessee Middle, Aug. 15, 2019.


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      HLFIP Holding, Inc. v. York County, Pennsylvania et al., Case No. 1:20-cv-186, United
       States District Court, Pennsylvania Middle, Feb. 03, 2020.

      HLFIP Holding, Inc. v. Wisconsin Dept. of Corrections et al., Case No. 3:22-cv-227,
       United States District Court, Wisconsin Western, Apr. 25, 2022.

       5.      Identify the entity or entities that funded (i.e. paid fees and costs related to)

each of the lawsuits listed in your response to Interrogatory 4.

Response to Interrogatory No. 5: HLFIP objects to this Interrogatory to the extent it seeks

information that is protected by the attorney-client privilege or work product doctrine. HLFIP

objects to the Interrogatory because the use of the term “funded” is vague and ambiguous. HLFIP

objects to the characterization of “funded” as “paid fees and costs related to.” Cash is fungible; the

entity that wrote checks or wired money is not necessarily the entity that bore the economic burden

for those payments.

       6.      Identify each and every lawsuit you have filed to enforce other, non-patent

intellectual property held by HLFIP.

Response to Interrogatory No. 6: HLFIP objects to Interrogatory No. 6 as seeking information

that is not relevant to this litigation and being overly broad, unduly burdensome, and not

reasonably calculated to lead to the discovery of admissible evidence. Further, to the extent that

any such lawsuit(s) might exist, details about them, including the mere fact of such litigation, are

likely to involve sensitive strategic considerations, confidential information, and could implicate

the attorney-client privilege or work product doctrine.

       7.      Identify the entity or entities that funded (i.e. paid fees and costs related to)

each of the lawsuits listed in your response to Interrogatory 6.

Response to Interrogatory No. 7: HLFIP objects to this Interrogatory to the extent it seeks

documents that are protected by the attorney-client privilege or work product doctrine. HLFIP



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objects to the Interrogatory because the use of the term “funded” is vague and ambiguous. HLFIP

objects to the characterization of “funded” as “paid fees and costs related to.” Cash is fungible; the

entity that wrote checks or wired money is not necessarily the entity that bore the economic burden

for those payments.

       8.      Identify each and every valuation of HLFIP or any of its individual assets that

has been performed, and describe the results of the valuation.

Response to Interrogatory No. 8: HLFIP objects to Interrogatory No. 8 as being overly broad,

unduly burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.

HLFIP objects to this Interrogatory to the extent it seeks documents that are protected by the

attorney-client privilege or work product doctrine. to the extent that any valuations were performed

at the direction of legal counsel in anticipation of litigation or for the purpose of providing legal

advice. This Interrogatory also seeks confidential and proprietary business information that is not

relevant to the issues in dispute in this litigation. Further, HLFIP objects to this Interrogatory to

the extent it seeks information regarding valuations that are not within the relevant time period or

scope of the claims and defenses asserted in this case.

       Subject to and without waiving the foregoing general and specific objections, HLFIP states:

In its analysis of whether the royalty rate that HLFIP charged to SmartComm met the arm’s-length

standard for purposes of section 482 of the Internal Revenue Code (26 U.S.C. § 482), the transfer-

pricing report that Marcum prepared for HLFIP indicates that the HLFIP assets have substantial

value but does not determine a dollar value for the HLFIP entity or any of its assets.




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       9.      Identify the entity or entities that funded the development the intellectual

property HLFIP holds.

Response to Interrogatory No. 9: HLFIP objects to this Interrogatory to the extent it seeks

documents that are protected by the attorney-client privilege or work product doctrine. HLFIP

objects to the Interrogatory because the use of the term “funded” is vague and ambiguous. To the

extent that this Interrogatory characterizes the term “funded” to mean “paid fees and costs related

to” (as in Interrogatory #5 and Interrogatory #7), HLFIP objects to that characterization. Cash is

fungible; the entity that wrote checks or wired money is not necessarily the entity that bore the

economic burden for those payments.

       10.     Identify each and every intellectual property license royalty payment HLFIP

has received from SmartComm.

Response to Interrogatory No. 10: HLFIP objects to the use of the terms “payment” and

“received” as vague and ambiguous. Subject to the foregoing specific and general objections,

HLFIP states: HLFIP reported income from SmartComm royalty payments on its 2022 Federal

income tax return, pursuant to 26 U.S.C. § 482 (which permits the IRS to “allocate gross income”

among “businesses … owned or controlled directly or indirectly by the same interests” as

“necessary … clearly to reflect the income of any of such . . . businesses”) and Treas. Reg. § 1.482-

1 (which explains that section 482 “places a controlled taxpayer on a tax parity with an

uncontrolled taxpayer by determining the true taxable income of the controlled taxpayer” and

provides that “[i]n determining the true taxable income of a controlled taxpayer, the standard to be




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applied in every case is that of a taxpayer dealing at arm’s length with an uncontrolled taxpayer”).

Therefore, as far as the IRS is concerned, HLFIP has received royalties from SmartComm.

   11. Identify each and every person whom Marcum interviewed for the Marcum Report.

Response to Interrogatory No. 11: HLFIP objects to the term “interviewed” as vague and

ambiguous because it is unclear what an interview means and entails in the context of a transfer

pricing report such as the Marcum Report. Subject to and without waiving the foregoing specific

and general objections, HLFIP states that Marcum spoke with Jonathan Logan, Noreen Gunning,

and Lisa Eddy in connection with the preparation of the Marcum Report.

       12.     Identify each and every document provided to Marcum for the Marcum

Report.

Response to Interrogatory No. 12: HLFIP objects to this Interrogatory to the extent it seeks

documents that are protected by the attorney-client privilege or work product doctrine. Subject to

and without waiving the foregoing general and specific objections, HLFIP states: HLFIP has

requested confirmation of this information from Marcum. Pursuant to Florida Rule of Civil

Procedure 1.340(c), HLFIP will supplement its responses to these Interrogatories to include

information specifying the produced records by Bates number from which the answer may be

derived or ascertained.

       13.     Identify the person(s) who drafted the Termination of Exclusive Oral License

Memorandum.

Response to Interrogatory No. 13: HLFIP objects to this Interrogatory on the grounds that it

seeks information protected by the attorney-client privilege and/or the work product doctrine. The

identity of the person(s) who drafted the Termination of Exclusive Oral License Memorandum

may reveal information about legal strategies, attorney mental impressions, or legal advice




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provided in anticipation of or during litigation. HLFIP further objects to the Interrogatory as

seeking information that is not relevant to this litigation and being overly broad, unduly

burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, as the

drafting of such agreement involves confidential business information that is irrelevant to the

issues in dispute in this litigation.

        14.     Identify the person(s) who drafted the Exclusive Intercompany Intellectual

Property License Agreement.

Response to Interrogatory No. 14: HLFIP objects to this Interrogatory on the grounds that it

seeks information protected by the attorney-client privilege and/or the work product doctrine. The

identity of the person(s) who drafted the Exclusive Intercompany Intellectual Property License

Agreement may reveal information about legal strategies, attorney mental impressions, or legal

advice provided in anticipation of or during litigation. HLFIP further objects to the Interrogatory

as seeking information that is not relevant to this litigation and being overly broad, unduly

burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, as the

drafting of such agreement involves confidential business information that is irrelevant to the

issues in dispute in this litigation.

        15.     Describe in detail the reason for converting HLFIP Holding, Inc. from a

Florida corporation to a Delaware Limited Liability Company on August 29, 2023.

Response to Interrogatory No. 15: HLFIP objects to Interrogatory No. 15 as seeking information

that is not relevant to this litigation and being overly broad, unduly burdensome, and not

reasonably calculated to lead to the discovery of admissible evidence. HLFIP further objects to

this Interrogatory because it seeks information that is protected by the attorney-client privilege or

work product doctrine.




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        16.    Identify each and every distribution, dividend, or transfer HLFIP has made to

Jonathan Logan or any third-party entity Jonathan Logan holds an interest in.

Response to Interrogatory No. 16: HLFIP objects to the term “each and every” in Interrogatory

No. 16 as overly broad, unduly burdensome, and not reasonably calculated to lead to the discovery

of admissible evidence. HLFIP further objects to the use of the term “transfer” as vague and

ambiguous. Subject to and without waiving the foregoing general and specific objections, HLFIP

states: SmartComm has never paid HLFIP and HLFIP has therefore never made any distribution,

dividend, or transfer to Jonathan Logan or any third-party entity Jonathan Logan in which he holds

an interest.

        17.    Identify each and every HLFIP employee, officer, director, member, or agent

who negotiated with SmartComm prior to agreeing to the 40% net sales intellectual property

Royalty Fee.

Response to Interrogatory No. 17: HLFIP objects to this Interrogatory as vague, ambiguous and

misleading; particularly, HLFIP objects to the use of the term “negotiated” as mischaracterizing

the matter addressed by the Interrogatory. HLFIP states that Smart owes and owed HLFIP a royalty

fee in connection with its use of HLFIP’s IP before 2023. Subject to the foregoing specific and

general objections, HLFIP identifies Jon Logan. For completeness, although they are not HLFIP

employees, officers, directors, or agents, HLFIP also states that advisors at Marcum LLP were

involved in the process.




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        18.      If you denied any of the Requests for Admission to you served

contemporaneously herewith these Interrogatories, state with particularity the basis of each

and every denial.

Response to Interrogatory No. 18: HLFIP objects to this Interrogatory insofar as it propounds

multiple interrogatories in what purports to be a single Interrogatory and HLFIP answers them

accordingly. See Fla. R. Civ. P. 1.340(a) (“The interrogatories must not exceed 30, including all

subparts . . . .”).

RFA #3: Denied because the patents are valid and are presumed valid (see response to #2 above).

        19.      If you denied any of the Requests for Admission to you served

contemporaneously herewith these Interrogatories, state with particularity the basis of each

and every denial.

Response to Interrogatory No. 19: HLFIP objects to this Interrogatory insofar as it propounds

multiple interrogatories in what purports to be a single Interrogatory and HLFIP answers them

accordingly. See Fla. R. Civ. P. 1.340(a).

RFA #4: Denied because HLFIP reported income from SmartComm royalty payments on its 2022

Federal income tax return, pursuant to 26 U.S.C. § 482 (which permits the IRS to “allocate gross

income” among “businesses … owned or controlled directly or indirectly by the same interests”

as “necessary … clearly to reflect the income of any of such . . . businesses”) and Treas. Reg.

§ 1.482-1 (which explains that section 482 “places a controlled taxpayer on a tax parity with an

uncontrolled taxpayer by determining the true taxable income of the controlled taxpayer” and

provides that “[i]n determining the true taxable income of a controlled taxpayer, the standard to be

applied in every case is that of a taxpayer dealing at arm’s length with an uncontrolled taxpayer”).




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       20.     If you denied any of the Requests for Admission to you served

contemporaneously herewith these Interrogatories, state with particularity the basis of each

and every denial.

Response to Interrogatory No. 20: HLFIP objects to this Interrogatory insofar as it propounds

multiple interrogatories in what purports to be a single Interrogatory and HLFIP answers them

accordingly. See Fla. R. Civ. P. 1.340(a).

RFA #5: Denied because while there may be no documents from before August 29, 2023, that use

the term “royalty” or “royalty fee,” in 2015, James Logan, Jon Logan, Alexis Logan, Smart

Communications US, and Smart Communications Holding entered into a written agreement that

expressly recognized that “Jonathan Logan exclusively owns and will retain exclusive ownership”

of the intellectual property for which Jon was the “inventor.” Jon’s ownership of the intellectual

property that Jon invented or developed necessarily entitles him to reap the economic benefits of

that intellectual property. Therefore, that 2015 agreement necessarily implies that SmartComm

owed and owes royalties to Jon Logan (via what is now his wholly owned entity, HLFIP).




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       21.     If you denied any of the Requests for Admission to you served

contemporaneously herewith these Interrogatories, state with particularity the basis of each

and every denial.

Response to Interrogatory No. 21: HLFIP objects to this Interrogatory insofar as it propounds

multiple interrogatories in what purports to be a single Interrogatory and HLFIP answers them

accordingly. See Fla. R. Civ. P. 1.340(a).

RFA #6: Denied because while there may be no documents from before August 29, 2023, that use

the term “royalty” or “royalty fee,” in 2015, James Logan, Jon Logan, Alexis Logan, Smart

Communications US, and Smart Communications Holding entered into a written agreement that

expressly recognized that “Jonathan Logan exclusively owns and will retain exclusive ownership”

of the intellectual property for which Jon was the “inventor.” Jon’s ownership of the intellectual

property that Jon invented or developed necessarily entitles him to reap the economic benefits of

that intellectual property. Therefore, that 2015 agreement necessarily implies that SmartComm

owed and owes royalties to Jon Logan (via what is now his wholly owned entity, HLFIP).

Date: August 27, 2024                        Respectfully submitted,

                                             /s/ Christopher G. Oprison
                                             Christopher G. Oprison (FBN 122080)
                                             Email: chris.oprison@dlapiper.com
                                             DLA PIPER LLP (US)
                                             200 South Biscayne Boulevard
                                             Suite 2500
                                             Miami, Florida 33131
                                             Telephone: (305) 423-8522
                                             Facsimile: (305) 657-6366

                                             Attorney for Defendant HLFIP




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 27, 2024, a true and correct copy of the foregoing

document was served via email to all entitled parties and counsel of record appearing on the

Court’s service list at the time of service.

                                               /s/ Christopher G. Oprison
                                               Christopher G. Oprison




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                                   VERIFICATION PAGE

          Under penalties of perjury, I declare that I have read the foregoing HLFIP HOLDING,

LLC’S       RESPONSES      AND     OBJECTIONS       TO   PLAINTIFF’S      FIRST    SET    OF

INTERROGATORIES and that the facts stated in it are true to the best of my knowledge and

belief.

       October 9, 2024
Dated: _________________________                          ______________________________

                                                          Jonathan D. Logan
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                       IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                                IN AND FOR SARASOTA COUNTY, FLORIDA

           JONATHAN LOGAN and SMART COMMUNI-
           CATIONS HOLDING, INC.
                                       Plaintiffs,
           v.                                                       Case No. 2023-CA-1002-NC
           JANICE LOGAN, individually and as Trustee of the
           James Logan Family Trust, dated February 10, 2021;
           and ALEXIS LOGAN,
                                       Defendants.              /
           JANICE LOGAN, as Trustee of the James Logan
           Family Trust, dated February 10, 2021,
                                Counterclaim Plaintiff,
           v.
           JONATHAN D. LOGAN, SMART COMMUNICA-
           TIONS HOLDING, INC., SMART COMMUNICA-
           TIONS HOLDING, LLC, HLFIP HOLDING, INC,
           and HLFIP HOLDING, LLC,
                                Counterclaim Defendants.        /
                                                                    (CONSOLIDATED)
           JANICE LOGAN, as Trustee of the James Logan
           Family Trust, dated February 10, 2021, and deriva-
           tively on behalf of Smart Communications Holding,
           Inc.,
                                                                    Case No.: 2023-CA-1280-NC
                                       Plaintiff,

                  v.

           JONATHAN D. LOGAN,
           SMART COMMUNICATIONS HOLDING, INC.,
           nominal defendant, SMART COMMUNICATIONS
           HOLDING, LLC, HLFIP HOLDING, LLC, LOCO
           FLORIDA LLC, and SMART COMMUNICA-
           TIONS YACHT HOLDING, LLC,

                                       Defendants.
                                                                /

           DEFENDANT HLFIP HOLDING, LLC’S AMENDED RESPONSES AND OBJECTIONS
                   TO JANICE LOGAN’S FIRST REQUESTS FOR ADMISSION



                                                          1



Filed 12/03/2024 04:26 PM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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        Defendant HLFIP Holdings, LLC (“HLFIP”), by and through undersigned counsel and

pursuant to Fla. R. Civ. P. 1.370, hereby responds and objects to Plaintiff Janice Logan’s, as Trus-

tee of the James Logan Family Trust, dated February 10, 2021 (“Janice” or “Plaintiff”) First Set

of Requests for Admission to HLFIP Holdings, LLC, served on July 24, 2024, as follows:

                                   GENERAL OBJECTIONS

        1.     HLFIP objects to any Definition or Instruction that imposes requirements upon

HLFIP or seeks to require HLFIP to provide information or assume an obligation beyond those

imposed by law or set forth in the Florida Rules of Civil Procedure.

        2.     HLFIP objects to the Requests to the extent they seek information for a time period

beyond that placed at issue by the claims in the operative pleadings or allowed by applicable statute

(e.g., Fla. Stat. § 607.1436(4)). Unless otherwise noted, HLFIP will provide information and doc-

uments for the time period placed at issue by the Parties’ claims, as limited by applicable laws or

the Court.

        3.     HLFIP objects to the Requests to the extent they call for information protected by

the attorney-client privilege or work product doctrine, or any other applicable privilege, rule, stat-

ute, or law. To the extent that any such information is inadvertently provided, it shall not be deemed

a waiver of any applicable privilege, immunity, or protection.

        4.     HLFIP expressly conditions its Response to each and every Request upon comple-

tion of further discovery and reserves the right to amend and/or supplement any Response as dis-

covery of additional information may from time to time require.

        5.     HLFIP objects to the Requests to the extent they are overbroad, unduly burdensome

and/or seek to impose upon HLFIP an undue expense or burden that properly should be borne by

Plaintiff.



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       6.       HLFIP objects to the Requests to the extent they seek or encompass information

that (a) is not relevant to the issues in the above-captioned case or (b) is not reasonably calculated

to lead to the discovery of admissible evidence. HLFIP does not concede the relevance of any

information provided in response to the Requests and expressly reserves the right to object to the

introduction into evidence of any responses on relevance or any other grounds.

       7.       HLFIP reserves the right to rely, at trial or in any other proceeding in this action or

any other action, upon information in addition to that identified and/or provided in response to the

Requests.

       8.       Nothing contained herein shall be deemed to constitute an assent to the terms or

definitions used in the Requests. The adoption and/or use by HLFIP of any term that Plaintiff

defines in the Requests is for convenience only and is not intended as a waiver of any objection

stated herein, nor shall it be deemed an admission in any respect.

       9.       HLFIP reserves the right to challenge the competency, relevance, materiality, and

admissibility of, or to object on any ground to the use of, information set forth in the Responses to

the Requests.

       10.      HLFIP objects to the Requests to the extent they seek information that Plaintiff

already has in her possession, custody, or control.

       11.      HLFIP objects to the Requests to the extent they assume the existence of facts that

do not exist and the occurrence of events that did not occur. Any Response of HLFIP to an indi-

vidual Request is not intended to be, and shall not be construed as, an admission that any factual

predicate stated in the Request is accurate.

       12.      Each of the foregoing “General Objections” is hereby incorporated into each of the

Responses provided below.




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                      RESPONSES TO REQUESTS FOR ADMISSION

       1.      Admit that HLFIP holds U.S. Patent No. 10,291,617.

Response to RFA No. 1: Admitted.

       2.      Admit that U.S. Patent No. 10,291,617 was not issued until May 14, 2019.

Response to RFA No. 2: Admitted.

       3.      Admit that the claims of U.S. Patent No. 10,291,617 are invalid under 35 U.S.C.

Section 101, for essentially the reasons articulated in HLFIP Holding, Inc. d/b/a Smart Com-

munications IP Holdings v. York Cnty., PA, et al., 600 F. Supp. 3d 526 (Case No. 1:20-cv-

00186, ECF 135) (M.D. Pa. April 25, 2022) aff’d sub nom. HLFIP Holding, Inc. v. York Cnty.,

PA, 2022-1940, 2023 WL 5316529 (Fed. Cir. Aug. 18, 2023).

Response to RFA No. 3: Denied.

       4.      Admit that HLFIP has never received any intellectual property license royalty

payments from SmartComm.

Response to RFA No. 4: HLFIP objects to this Request on the grounds that the terms “payment”

and “received” are vague and ambiguous. HLFIP further objects to this Request because HLFIP

reported income from SmartComm royalty payments on its 2022 Federal income tax return, pur-

suant to 26 U.S.C. § 482 (which permits the IRS to “allocate gross income” among “businesses …

owned or controlled directly or indirectly by the same interests” as “necessary … clearly to reflect

the income of any of such . . . businesses”) and Treas. Reg. § 1.482-1 (which explains that section

482 “places a controlled taxpayer on a tax parity with an uncontrolled taxpayer by determining the

true taxable income of the controlled taxpayer” and provides that “[i]n determining the true taxable

income of a controlled taxpayer, the standard to be applied in every case is that of a taxpayer




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dealing at arm’s length with an uncontrolled taxpayer”). Subject to and without waiving the fore-

going general and specific objections, HLFIP denies this Request.

       5.      Admit that there are no documents in your custody, possession, or control

from prior to August 29, 2023, that reference the Royalty Fee.

Response to RFA No. 5: HLFIP denies this Request because while there may be no documents

from before August 29, 2023, that use the term “royalty” or “royalty fee,” in 2015, James Logan,

Jon Logan, Alexis Logan, Smart Communications US, and Smart Communications Holding en-

tered into a written agreement that expressly recognized that “Jonathan Logan exclusively owns

and will retain exclusive ownership” of the intellectual property for which Jon was the “inventor.”

Jon’s ownership of the intellectual property that Jon invented or developed necessarily entitles him

to reap the economic benefits of that intellectual property. Therefore, that 2015 agreement neces-

sarily implies that SmartComm owed and owes royalties to Jon Logan (via what is now his wholly

owned entity, HLFIP).




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       6.      Admit that there are no documents in your custody, possession, or control

from prior to August 29, 2023, that reference a 40% net sales intellectual property royalty

license from SmartComm to HLFIP.

Response to RFA No. 6: HLFIP denies this Request because while there may be no documents

from before August 29, 2023, that use the term “royalty” or “royalty fee,” in 2015, James Logan,

Jon Logan, Alexis Logan, Smart Communications US, and Smart Communications Holding en-

tered into a written agreement that expressly recognized that “Jonathan Logan exclusively owns

and will retain exclusive ownership” of the intellectual property for which Jon was the “inventor.”

Jon’s ownership of the intellectual property that Jon invented or developed necessarily entitles him

to reap the economic benefits of that intellectual property. Therefore, that 2015 agreement neces-

sarily implies that SmartComm owed and owes royalties to Jon Logan (via what is now his wholly

owned entity, HLFIP).

Date: December 2, 2024                        Respectfully submitted,

                                              /s/ Christopher G. Oprison
                                              Christopher G. Oprison (FBN 122080)
                                              Email: chris.oprison@dlapiper.com
                                              DLA PIPER LLP (US)
                                              200 South Biscayne Boulevard
                                              Suite 2500
                                              Miami, Florida 33131
                                              Telephone: (305) 423-8522
                                              Facsimile: (305) 657-6366

                                              Attorney for Defendant HLFIP




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 2, 2024, a true and correct copy of the foregoing

document was served via email to all entitled parties and counsel of record appearing on the

Court’s service list at the time of service, and on December 2, 2024, a true and correct copy of the

foregoing document was served via the Court’s electronic portal to all entitled parties and counsel

of record appearing on the Court’s service list at the time of service.

                                              /s/ Christopher G. Oprison
                                              Christopher G. Oprison




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                 EXHIBIT 9
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      _____ Forwarded message-----------
      From: Jon <ion.loaan@smartiailmail.com>
      Date: Thu, Apr 30, 2015 at 3:26 PM
      Subject: Contract
      To: Jim Logan <iim.loqan@smartiailmail.com>

                                                                  ions us, and smart
      Agreement between Jim Logan - president of smart communicat
                                                                   of intellectual property
      communications holding, between Jon Logan creator and owner
      known as (postal mail contraband elimination system).
                                                                              of intellectual
      This contract confirms Jonathan D Logan is the creator and owner
                                                               ted for  postal mail elimination
      property and system business model soon to be paten
                                                                         by Jonathan Logan
      system. This intellectual property is solely created and owned
                                                                          exclusively owns and
      (inventor) and this contract acknowledges that Jonathan Logan
                                                                          tional facilities and
      will retain exclusive ownership of this service invention to correc
                                                                        and Jim Logan, Alexis
      smart communications us and smart communications holding
                                                                 comm   unications us or of Jim
      logan, or any employee, share holder or agent of smart
                                                                             e invention and they
      Logan and Alexis Logan acknowledges they do not own this servic
                                                                        system model, unless
      can not use this postal mail contraband elimination service or
                                                                      ctual property (Jonathan d
      direct written permission is given by the owner of this intelle
      Logan) to use this service, model, business plan, or technology.
                                                                     the technology and
      This agreement encompasses a non disclosure agreement and
                                                                       and smart
      system disclosed by Jonathan Logan to Jim Logan, Alexis Logan
                                                                 not be used or disclosed in
      communications us and smart communications holding can
                                                                  Jonathan Logan.
      any way shape or form unless written permission is given by

      Date and sign. Alexis sign and Janice as a witness to you.

      Thank you!

      Jon,
      Smartiailmail.com




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    Important                                                                       communications us, and smart communicationsJrolding,
                          Agreement between Jim Logan - president of smart
                                         and  owner of  intellectu al property  known   as  (postal mail contraband elimination systdm).
    Sent Mail             Logan creator
                                                                                                                                                   model soon to
    Drafts (78)                                                                         and owner of intellectual property and ^ystem business
                          This contract confirms Jonathan D Logan is the creator                           is solely created and^owned by Jonathan Logan
                                          postal mail  eliminatio n  system.  This  intellectu al property
    Follow up             be patented for                                                                                                             p of this
                                                                                          Logan exclusively owns and will retain exclusive ownershi
                          (inventor) and this contract acknowledges that Jonathan                                                              and Jim Logan,
    Misc                                                                            communications us and smart communications holding Logan
                          service invention to correctional facilities and smart                                       or of Jim Logan and Alexis
                                                                                      of smart communications us
    Priority              Alexis logan, or any employee, share holder or agent                                                                     n service or
                                                                                      and they can not use this postal mail contraband eliminatio
                          acknowledges they do not own this service invention                                                                    Logan) to use this
    More                                                         permissio  n  is given  by the owner of this intellectual property (Jonathan d
                          system model, unless direct written
                          sen/ice, model, business plan, or technology.
                                                                                                                                             Jonathan Logan to
                                                                                           nt and the techneJogy and s' fdtem disclosed by
                           This agreement encompasses a non disclosure agreeme                                                             used or disclosed in any
                                      Alexis  Logan  and   smart  commun   ications   us and smart corripunicatioBS h ling can not be
                           Jim Logan,
                                                                                       by Jonathan LoMfi.
                           way shape or form unless written permission is given

                           Date and sign, Alexis sign and Janice as a witness
                                                                                  to you.       J
                           Thank you!




                                                                                                                         3:42 PM (2 minutes ago)
                           Jim Logan <jim.logan@smartjailmail.com>
                           to Alexis




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    https://mail.google.eom/mail/u/0/
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